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                                                                                                       E-FILED
                                                                     Wednesday, 16 June, 2021 04:09:51 PM
                                                                             Clerk, U.S. District Court, ILCD

                      IN THE UNITED
                      IN THE        STATES DISTRICT
                             UNITED STATES DISTRICT COURT
                                                    COURT
                      FOR THE CENTRAL
                      FOR THE          DISTRICT OF
                              CENTRAL DISTRICT  OF ILLINOIS
                                                   ILLINOIS
                                URBANA  DIVISION
                                URBANA DIVISION

DOMINIQUE POULIOT,
DOMINIQUE POULIOT,                            ))
                                               ))    Case No.
                                                     Case No. 19-cv-02067
                                                              19-cv-02067
                       Plaintiff,
                       Plaintiff,              ))
                                               ))    Judge Colin S.
                                                     Judge Colin    Bruce
                                                                 S. Bruce
v.
v.                                             ))
                                               ))    Magistrate Judge
                                                     Magistrate Judge Eric
                                                                      Eric I. Long
                                                                           I. Long
THE  BOARD OF
THE BOARD     OF TRUSTEES
                  TRUSTEES OF OF THE
                                 THE           )
UNIVERSITY OF
UNIVERSITY     OF ILLINOIS,   DALE A.
                   ILLINOIS, DALE  A.          )
VAN HARLINGEN,
VAN  HARLINGEN, DENISE
                     DENISE                    )
DONNELLY, individually,
DONNELLY,     individually, CRAIG
                            CRAIG              )
HOEFER, individually,
HOEFER,   individually,                        )
Defendants.
Defendants.                                     )

     DEFENDANTS’ MOTION
     DEFENDANTS'        TO COMPEL
                 MOTION TO COMPEL PLAINTIFF’S DISCOVERY RESPONSES
                                  PLAINTIFF'S DISCOVERY RESPONSES

        Defendants, The
        Defendants,     Board of
                    The Board of Trustees
                                 Trustees of
                                          of the
                                             the University
                                                 University of
                                                            of Illinois (“The Board"),
                                                               Illinois ("The Board”), Dale
                                                                                       Dale Van
                                                                                            Van

Harlingen, Denise
Harlingen, Denise Donnelly,
                  Donnelly, and
                            and Craig
                                Craig Hoefer
                                      Hoefer (collectively,
                                             (collectively, "Defendants"),
                                                            “Defendants”), by
                                                                           by their
                                                                              their undersigned
                                                                                    undersigned

attorneys, hereby
attorneys, hereby move
                  move the
                       the Court
                           Court to
                                 to compel
                                    compel Plaintiff's
                                           Plaintiff’s responses
                                                       responses to
                                                                 to Defendants'
                                                                    Defendants’ written
                                                                                written discovery
                                                                                        discovery

within 30
within    days and
       30 days and Plaintiff's
                   Plaintiff’s deposition
                               deposition by
                                          by Defendants
                                             Defendants in
                                                        in the
                                                           the first
                                                               first week
                                                                     week of
                                                                          of August
                                                                             August 2021,
                                                                                    2021, or
                                                                                          or in the
                                                                                             in the

alternative, bar
alternative, bar from
                 from trial
                      trial Plaintiffs
                            Plaintiff’s use
                                        use of
                                            of any
                                               any information
                                                   information or
                                                               or documents that were
                                                                  documents that were nor
                                                                                      nor produced
                                                                                          produced

in aa timely
in    timely manner
             manner pursuant
                    pursuant to
                             to Federal
                                Federal Rule
                                        Rule of
                                             of Civil
                                                Civil Procedure
                                                      Procedure 33.
                                                                33. In support of
                                                                    In support of this
                                                                                  this motion,
                                                                                       motion,

Defendants state:
Defendants state:

        1.
        1.     The resolution of
               The resolution of this
                                 this matter
                                      matter has
                                             has been
                                                 been put
                                                      put off
                                                          off for
                                                              for over
                                                                  over aa year
                                                                          year due
                                                                               due to
                                                                                   to delays
                                                                                      delays caused
                                                                                             caused

by the
by the COVID-19
       COVID-19 pandemic,
                pandemic, but
                          but also
                              also because
                                   because of
                                           of Plaintiff's
                                              Plaintiff’s failure to diligently
                                                          failure to diligently prosecute
                                                                                prosecute her
                                                                                          her

claims. Defendants
claims. Defendants have
                   have been
                        been patient,
                             patient, accommodating
                                      accommodating of
                                                    of Plaintiff's
                                                       Plaintiff’s medical
                                                                   medical and
                                                                           and other
                                                                               other needs,
                                                                                     needs, and
                                                                                            and

optimistic about
optimistic about an
                 an out-of-court
                    out-of-court resolution.
                                 resolution. However,
                                             However, at
                                                      at this
                                                         this point
                                                              point Plaintiff's
                                                                    Plaintiff’s failure
                                                                                failure to
                                                                                        to engage
                                                                                           engage in
                                                                                                  in

discovery is
discovery is prejudicing
             prejudicing Defendants'
                         Defendants’ ability
                                     ability to
                                             to defend against her
                                                defend against her claims.
                                                                   claims. Defendants
                                                                           Defendants therefore
                                                                                      therefore

seek relief
seek        and direction
     relief and direction regarding
                          regarding discovery
                                    discovery from
                                              from this
                                                   this Court.
                                                        Court.
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        2.
        2.      Defendants issued
                Defendants issued their
                                  their first set of
                                        first set of written
                                                     written discovery
                                                             discovery requests
                                                                       requests to
                                                                                to Plaintiff
                                                                                   Plaintiff via
                                                                                             via email
                                                                                                 email

and U.S.
and U.S. mail
         mail nearly
              nearly two years ago
                     two years ago -- on
                                      on July 1, 2019.
                                         July 1, 2019. (Ex.
                                                       (Ex. A).
                                                            A). Plaintiff's
                                                                Plaintiff’s discovery
                                                                            discovery responses
                                                                                      responses

were due
were due on
         on July 31, 2019.
            July 31, 2019.

        3.
        3.      To date, Plaintiff
                To date, Plaintiff has
                                   has not
                                       not responded to any
                                           responded to any of
                                                            of Defendants'
                                                               Defendants’ discovery
                                                                           discovery requests.
                                                                                     requests.

        4.
        4.      Throughout late 2019
                Throughout late 2019 and
                                     and early
                                         early 2020,
                                               2020, Defendants
                                                     Defendants responded
                                                                responded to
                                                                          to Plaintiff's
                                                                             Plaintiff’s

discovery requests
discovery requests and
                   and attempted
                       attempted to
                                 to engage Plaintiff in
                                    engage Plaintiff in settlement
                                                        settlement negotiations
                                                                   negotiations in
                                                                                in order
                                                                                   order to
                                                                                         to avoid
                                                                                            avoid

the continued
the continued expense
              expense and
                      and disruption
                          disruption of
                                     of litigation.
                                        litigation.

        5.
        5.      The parties were
                The parties were initially
                                 initially scheduled
                                           scheduled to
                                                     to participate
                                                        participate in
                                                                    in aa settlement
                                                                          settlement conference
                                                                                     conference on
                                                                                                on

March 10,
March 10, 2020.
          2020. Due
                Due to
                    to the
                       the ensuing
                           ensuing COVID-19
                                   COVID-19 pandemic,
                                            pandemic, the
                                                      the conference
                                                          conference was
                                                                     was postponed
                                                                         postponed until
                                                                                   until

May 14,
May 14, 2020.
        2020. Discovery
              Discovery was
                        was stayed
                            stayed pending
                                   pending settlement
                                           settlement discussions.
                                                      discussions. (See
                                                                   (See March
                                                                        March 6, 2020 Text
                                                                              6, 2020 Text

Order entered
Order         by Magistrate
      entered by Magistrate Judge Long).
                            Judge Long).

        6.
        6.      Following aa pre-settlement
                Following    pre-settlement call
                                            call with
                                                 with the
                                                      the Court
                                                          Court on
                                                                on May
                                                                   May 13,
                                                                       13, 2020,
                                                                           2020, Plaintiff
                                                                                 Plaintiff requested
                                                                                           requested

the May
the May 14,
        14, 2020
            2020 settlement
                 settlement conference be postponed,
                            conference be postponed, and
                                                     and discovery
                                                         discovery further stayed. Plaintiff
                                                                   further stayed. Plaintiff

switched counsel,
switched counsel, requesting an extension
                  requesting an extension of
                                          of three
                                             three months
                                                   months as
                                                          as aa result.
                                                                result. Defendants
                                                                        Defendants did not oppose
                                                                                   did not oppose

this request.
this request. (Dkt.
              (Dkt. No.
                    No. 49).
                        49).

        7.
        7.      On August
                On August 20,
                          20, 2020,
                              2020, Magistrate
                                    Magistrate Judge
                                               Judge Long set aa September
                                                     Long set              24, 2020
                                                                 September 24, 2020 date
                                                                                    date for
                                                                                         for the
                                                                                             the

settlement conference.
settlement conference. In
                       In response, Plaintiff again
                          response, Plaintiff again requested
                                                    requested the
                                                              the conference
                                                                  conference be
                                                                             be delayed,
                                                                                delayed, to
                                                                                         to

November 5,
November    2020, not
         5, 2020, not only
                      only further
                           further suspending
                                   suspending any
                                              any progress
                                                  progress towards
                                                           towards early resolution, but
                                                                   early resolution, but also
                                                                                         also

Plaintiff’s responses
Plaintiff's responses to
                      to Defendant's
                         Defendant’s discovery
                                     discovery requests
                                               requests served
                                                        served over
                                                               over aa year
                                                                       year earlier.
                                                                            earlier. (Dkt.
                                                                                     (Dkt. No.
                                                                                           No. 52).
                                                                                               52).

        8.
        8.      The parties finally
                The parties finally met
                                    met via
                                        via video
                                            video conference
                                                  conference on
                                                             on November
                                                                November 20,
                                                                         20, 2020
                                                                             2020 for the long-
                                                                                  for the long-

delayed settlement
delayed settlement conference
                   conference before
                              before Magistrate
                                     Magistrate Judge
                                                Judge Long. Unfortunately, the
                                                      Long. Unfortunately, the conference
                                                                               conference was
                                                                                          was

not fruitful.
not fruitful.




                                                  22
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         9.
         9.       During the
                  During the settlement
                             settlement conference, Defendants’ counsel
                                        conference, Defendants' counsel relayed
                                                                        relayed to
                                                                                to the
                                                                                   the Court
                                                                                       Court that
                                                                                             that no
                                                                                                  no

discovery responses
discovery responses had
                    had been
                        been received
                             received from Plaintiff.
                                      from Plaintiff.

         10.
         10.      The Defendants maintain
                  The Defendants maintain that
                                          that Plaintiff's
                                               Plaintiff’s claims
                                                           claims are
                                                                  are baseless,
                                                                      baseless, but
                                                                                but seek
                                                                                    seek to
                                                                                         to avoid
                                                                                            avoid the
                                                                                                  the

expense, delay
expense, delay and
               and disruption
                   disruption of
                              of litigation. As aa result,
                                 litigation. As    result, the
                                                           the parties
                                                               parties continued
                                                                       continued private
                                                                                 private negotiations
                                                                                         negotiations

during the
during the months
           months following the settlement
                  following the settlement conference.
                                           conference. During
                                                       During communications
                                                              communications between
                                                                             between the
                                                                                     the

parties, Plaintiffs
parties, Plaintiff’s counsel
                     counsel continued to represent
                             continued to represent to
                                                    to Defendants'
                                                       Defendants’ counsel
                                                                   counsel that
                                                                           that early
                                                                                early resolution
                                                                                      resolution was
                                                                                                 was

aa likely possibility, curtailing
   likely possibility, curtailing her
                                  her urgency
                                      urgency to
                                              to respond
                                                 respond to
                                                         to Defendants'
                                                            Defendants’ discovery.
                                                                        discovery.

         11.
         11.      As late
                  As      as mid-April
                     late as mid-April 2021,
                                       2021, Plaintiffs
                                             Plaintiff’s counsel
                                                         counsel indicated
                                                                 indicated optimism
                                                                           optimism about
                                                                                    about settlement.
                                                                                          settlement.

As aa result,
As            Defendants’ attorneys
      result, Defendants' attorneys believed
                                    believed that
                                             that an
                                                  an out
                                                     out of
                                                         of court resolution was
                                                            court resolution was imminent.
                                                                                 imminent. However,
                                                                                           However,

Plaintiff’s counsel's
Plaintiff's counsel’s communication
                      communication on
                                    on June
                                       June 5, 2021 makes
                                            5, 2021 makes it
                                                          it clear that Plaintiff's
                                                             clear that Plaintiff’s position
                                                                                    position has
                                                                                             has

changed and
changed and settlement
            settlement is no longer
                       is no        imminent.11
                             longer imminent.

         12.
         12.      Despite believing
                  Despite believing that
                                    that an
                                         an out
                                            out of
                                                of court
                                                   court resolution would be
                                                         resolution would be forthcoming, Defendants
                                                                             forthcoming, Defendants

have repeatedly
have            noticed and
     repeatedly noticed and rescheduled
                            rescheduled Plaintiff's
                                        Plaintiff’s deposition,
                                                    deposition, and
                                                                and have
                                                                    have also
                                                                         also regularly
                                                                              regularly reminded
                                                                                        reminded

Plaintiff’s counsel
Plaintiff's counsel that
                    that his
                         his client
                             client has
                                    has not
                                        not produced
                                            produced any
                                                     any response to Defendants'
                                                         response to Defendants’ discovery
                                                                                 discovery requests.
                                                                                           requests.

         13.
         13.      More specifically,
                  More specifically, Plaintiff's
                                     Plaintiff’s remote
                                                 remote deposition
                                                        deposition was
                                                                   was initially
                                                                       initially noticed
                                                                                 noticed by
                                                                                         by Defendants
                                                                                            Defendants

on April
on April 26,
         26, 2021
             2021 for
                  for the
                      the date
                          date of
                               of May
                                  May 5, 2021. Plaintiff's
                                      5, 2021. Plaintiff’s counsel
                                                           counsel responded
                                                                   responded that
                                                                             that he
                                                                                  he was
                                                                                     was

unavailable on
unavailable on May
               May 5,
                   5, instead seeking to
                      instead seeking to delay
                                         delay the
                                               the deposition
                                                   deposition until
                                                              until the
                                                                    the week
                                                                        week of
                                                                             of May
                                                                                May 24,
                                                                                    24, 2021.
                                                                                        2021.

(Ex. B).
(Ex. B).

         14.
         14.      On April
                  On April 27,
                           27, Defendants'
                               Defendants’ counsel
                                           counsel advised
                                                   advised Plaintiff's
                                                           Plaintiff’s counsel
                                                                       counsel that
                                                                               that Plaintiffs
                                                                                    Plaintiff’s

deposition had
deposition had been
               been scheduled
                    scheduled with
                              with the
                                   the expectation that, in
                                       expectation that, in order
                                                            order to
                                                                  to avoid
                                                                     avoid being
                                                                           being prejudiced
                                                                                 prejudiced with
                                                                                            with

respect to
respect to the
           the May
               May 14,
                   14, 2021
                       2021 deadline
                            deadline for
                                     for responsive
                                         responsive pleadings,
                                                    pleadings, the
                                                               the deposition
                                                                   deposition would
                                                                              would be
                                                                                    be completed
                                                                                       completed



11 Defendants
   Defendants are
               are not
                   not attaching
                       attaching settlement-related
                                  settlement-related communications,
                                                     communications, nor
                                                                      nor are
                                                                          are they
                                                                              they disclosing the substance
                                                                                   disclosing the           of
                                                                                                  substance of
 settlement negotiations,
settlement  negotiations, in
                           in order
                              order to
                                    to comply  with the
                                        comply with the requirements
                                                        requirements of
                                                                     of Federal
                                                                        Federal Rule
                                                                                Rule of
                                                                                      of Evidence
                                                                                         Evidence 408
                                                                                                   408 and
                                                                                                       and protect
                                                                                                           protect the
                                                                                                                   the
 confidentiality of
 confidentiality of settlement  negotiations.
                    settlement negotiations.

                                                           33
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well in
well    advance of
     in advance of that
                   that date.
                        date. (Ex.
                              (Ex. C).
                                   C). Nevertheless,
                                       Nevertheless, Plaintiff
                                                     Plaintiff requested yet another
                                                               requested yet another extension of
                                                                                     extension of

time, causing
time,         yet another
      causing yet another discovery
                          discovery delay.
                                    delay. Defendants
                                           Defendants agreed
                                                      agreed to
                                                             to Plaintiffs
                                                                Plaintiff’s Motion
                                                                            Motion for
                                                                                   for an
                                                                                       an

Extension of the
Extension of the Dispositive
                 Dispositive Motions
                             Motions Deadline,
                                     Deadline, filed
                                               filed on
                                                     on May
                                                        May 3.
                                                            3. (Dkt.
                                                               (Dkt. No.
                                                                     No. 58).
                                                                         58).

       15.
       15.     On May
               On May 20,
                      20, 2021,
                          2021, Defendants
                                Defendants re-noticed the deposition
                                           re-noticed the deposition of
                                                                     of Plaintiff,
                                                                        Plaintiff, this
                                                                                   this time
                                                                                        time for
                                                                                             for

June 2, 2021.
June 2, 2021. Defendants'
              Defendants’ counsel
                          counsel again
                                  again expressed
                                        expressed hopes
                                                  hopes for early resolution
                                                        for early resolution as
                                                                             as had
                                                                                had been
                                                                                    been

discussed by
discussed by the
             the parties.
                 parties. Defendants'
                          Defendants’ counsel also reminded
                                      counsel also reminded Plaintiff's
                                                            Plaintiff’s counsel
                                                                        counsel of
                                                                                of both
                                                                                   both the
                                                                                        the lack
                                                                                            lack

of discovery
of discovery responses
             responses received and the
                       received and the prejudicial
                                        prejudicial effect
                                                    effect of
                                                           of counsel's
                                                              counsel’s continued
                                                                        continued delays,
                                                                                  delays,

specifically with
specifically with the
                  the deadline
                      deadline for
                               for dispositive motions looming.
                                   dispositive motions          (Ex. D).
                                                       looming (Ex.  D).

       16.
       16.     On May
               On May 24,
                      24, Plaintiffs
                          Plaintiff’s counsel again sought
                                      counsel again sought to
                                                           to delay
                                                              delay discovery, this time
                                                                    discovery, this time asserting
                                                                                         asserting

that Plaintiff
that Plaintiff could
               could not
                     not attend
                         attend aa virtual
                                   virtual deposition
                                           deposition due
                                                      due to
                                                          to her
                                                             her husband's
                                                                 husband’s illness. Defendants did
                                                                           illness. Defendants did not
                                                                                                   not

contest the
contest the motion,
            motion, as
                    as it
                       it was
                          was supported
                              supported by
                                        by medical
                                           medical documentation.
                                                   documentation. (Dkt.
                                                                  (Dkt. No.
                                                                        No. 59). However, on
                                                                            59). However, on

June 1st Defendants'
June 1st Defendants’ counsel
                     counsel implored
                             implored Plaintiff's
                                      Plaintiff’s counsel
                                                  counsel to
                                                          to produce
                                                             produce discovery
                                                                     discovery responses
                                                                               responses given
                                                                                         given

these continued
these continued delays,
                delays, explicitly
                        explicitly noting
                                   noting that
                                          that Plaintiffs
                                               Plaintiff’s prolonged
                                                           prolonged lagging
                                                                     lagging was
                                                                             was prejudicing
                                                                                 prejudicing

Defendants’ ability
Defendants' ability to
                    to defend
                       defend this
                              this matter.
                                   matter. In this communication,
                                           In this communication, Defendants'
                                                                  Defendants’ counsel again
                                                                              counsel again

reminded Plaintiffs
reminded Plaintiff’s counsel
                     counsel that
                             that no
                                  no discovery
                                     discovery has
                                               has been
                                                   been produced
                                                        produced by
                                                                 by Plaintiff,
                                                                    Plaintiff, and
                                                                               and put
                                                                                   put Plaintiff's
                                                                                       Plaintiff’s

counsel on
counsel on notice
           notice that
                  that they
                       they would
                            would move
                                  move to
                                       to compel
                                          compel and/or
                                                 and/or to
                                                        to dismiss for want
                                                           dismiss for want of
                                                                            of prosecution
                                                                               prosecution given
                                                                                           given

the prejudicial
the prejudicial effect
                effect of
                       of Plaintiffs
                          Plaintiff’s continued,
                                      continued, extensive
                                                 extensive delays.
                                                           delays. (Ex.
                                                                   (Ex. E).
                                                                        E).

       17.
       17.     Despite Defendants
               Despite Defendants being
                                  being fully prepared and
                                        fully prepared and available
                                                           available for Plaintiff’s deposition
                                                                     for Plaintiff's            on
                                                                                     deposition on

June 2, Plaintiff
June 2, Plaintiff moved
                  moved this
                        this Court
                             Court to
                                   to continue all discovery
                                      continue all discovery until August 31,
                                                             until August     2021, with
                                                                          31, 2021, with Plaintiff
                                                                                         Plaintiff’s
                                                                                                  s

deposition not
deposition not to
               to be
                  be taken
                     taken prior
                           prior to
                                 to July
                                    July 31.
                                         31.

       18.
       18.     Defendants’ counsel
               Defendants' counsel has
                                   has now
                                       now been
                                           been engaged
                                                engaged in good faith
                                                        in good       efforts to
                                                                faith efforts to either
                                                                                 either settle
                                                                                        settle this
                                                                                               this

matter or
matter or to
          to obtain
             obtain discovery
                    discovery responses
                              responses from Plaintiff for
                                        from Plaintiff     nearly two
                                                       for nearly two years.
                                                                      years. Defendants'
                                                                             Defendants’ counsel
                                                                                         counsel

has reminded
has reminded Plaintiff's
             Plaintiff’s counsel
                         counsel multiple
                                 multiple times
                                          times (most
                                                (most recently
                                                      recently on
                                                               on June 8 th) that
                                                                  June 8th)  that Plaintiff
                                                                                  Plaintiff has
                                                                                            has



                                                  4
                                                  4
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completely ignored
completely         their discovery
           ignored their discovery requests, and have
                                   requests, and have advised
                                                      advised that
                                                              that if
                                                                   if Plaintiff
                                                                      Plaintiff cannot provide
                                                                                cannot provide

information about
information about when
                  when Defendants'
                       Defendants’ can
                                   can expect
                                       expect responses, they will
                                              responses, they will be
                                                                   be forced to file
                                                                      forced to file aa motion
                                                                                        motion to
                                                                                               to

compel or
compel or in
          in the
             the alternative
                 alternative to
                             to dismiss.
                                dismiss. (Ex.
                                         (Ex. F).
                                              F). Plaintiff's
                                                  Plaintiff’s counsel
                                                              counsel has
                                                                      has not
                                                                          not responded to these
                                                                              responded to these

communications, and
communications, and as
                    as aa result,
                          result, Defendants'
                                  Defendants’ have
                                              have met
                                                   met their
                                                       their obligations
                                                             obligations to
                                                                         to meet
                                                                            meet and
                                                                                 and confer
                                                                                     confer under
                                                                                            under

Federal Rule
Federal Rule of
             of Civil
                Civil Procedure
                      Procedure 37.
                                37. The
                                    The undersigned
                                        undersigned does
                                                    does not
                                                         not believe
                                                             believe that
                                                                     that further
                                                                          further attempts
                                                                                  attempts to
                                                                                           to meet
                                                                                              meet

and confer
and        will be
    confer will be worthwhile
                   worthwhile but
                              but instead
                                  instead believes
                                          believes they
                                                   they will
                                                        will only
                                                             only contribute
                                                                  contribute to
                                                                             to continued undue
                                                                                continued undue

delay, spoliation
delay, spoliation of
                  of evidence,
                     evidence, and
                               and further prejudice to
                                   further prejudice to Defendants'
                                                        Defendants’ ability
                                                                    ability to
                                                                            to defend
                                                                               defend this
                                                                                      this matter.
                                                                                           matter.

       WHEREFORE, Defendants
       WHEREFORE, Defendants respectfully
                             respectfully request
                                          request that
                                                  that the
                                                       the Court
                                                           Court enter
                                                                 enter an
                                                                       an order
                                                                          order (1)
                                                                                (1)

compelling Plaintiff
compelling Plaintiff to
                     to fully and completely
                        fully and completely respond
                                             respond to
                                                     to Defendants'
                                                        Defendants’ written
                                                                    written discovery
                                                                            discovery requests
                                                                                      requests

attached in
attached in Exhibit
            Exhibit A
                    A and
                      and produce
                          produce all
                                  all responsive
                                      responsive documents
                                                 documents within
                                                           within 30
                                                                  30 days;
                                                                     days; (2)
                                                                           (2) compelling
                                                                               compelling

Plaintiff’s counsel
Plaintiff's counsel to
                    to produce
                       produce Plaintiff
                               Plaintiff for deposition the
                                         for deposition the week
                                                            week of
                                                                 of August
                                                                    August 2,
                                                                           2, 2021;
                                                                              2021; and
                                                                                    and (3)
                                                                                        (3) stating
                                                                                            stating

that failure
that failure to
             to do
                do either will result
                   either will result in dismissal for
                                      in dismissal     want of
                                                   for want of prosecution.
                                                               prosecution. In the alternative,
                                                                            In the alternative,

Defendants request
Defendants request that
                   that the
                        the Court
                            Court enter
                                  enter an
                                        an order
                                           order barring
                                                 barring Plaintiff
                                                         Plaintiff from
                                                                   from using
                                                                        using at
                                                                              at trial
                                                                                 trial any
                                                                                       any

information and/or
information and/or documentation
                   documentation that
                                 that was
                                      was not
                                          not timely
                                              timely produced
                                                     produced to
                                                              to Defendants
                                                                 Defendants pursuant
                                                                            pursuant to
                                                                                     to Federal
                                                                                        Federal

Rule of
Rule of Civil
        Civil Procedure
              Procedure 33
                        33 despite
                           despite Defendants'
                                   Defendants’ good
                                               good faith efforts to
                                                    faith efforts to accommodate
                                                                     accommodate Plaintiffs
                                                                                 Plaintiff’s

delays, or
delays, or to
           to enter any other
              enter any other relief
                              relief that
                                     that this
                                          this Court
                                               Court deems
                                                     deems just.
                                                           just.

Dated: June
Dated: June 16,
            16, 2021
                2021                           Respectfully submitted,
                                               Respectfully submitted,

                                               THE BOARD OF
                                               THE BOARD OF TRUSTEES
                                                            TRUSTEES OFOF THE
                                                                          THE
                                               UNIVERSITY OF ILLINOIS,
                                               UNIVERSITY OF ILLINOIS, DALE
                                                                       DALE VAN
                                                                            VAN
                                               HARLINGEN, DENISE  DONNELLY,  and
                                               HARLINGEN, DENISE DONNELLY, and
                                               CRAIG HOEFER
                                               CRAIG HOEFER

                                               By: /s/
                                               By:     Monica H.
                                                   /s/ Monica  H. Khetarpal
                                                                  Khetarpal
                                                       One of
                                                       One of Its Attorneys
                                                              Its Attorneys


                                               Monica H.
                                               Monica H. Khetarpal
                                                         Khetarpal
                                               Thanin O. Stewart
                                               Thanin O. Stewart
                                               JACKSON
                                               JACKSON LEWIS     P.C.
                                                          LEWIS P.C.


                                                  5
                                                  5
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                150 N.
                150  N. Michigan
                        Michigan Ave.,
                                  Ave., Suite 2500
                                        Suite 2500
                Chicago, Illinois
                Chicago,          60601
                         Illinois 60601
                Tel: 312.787.4949
                Tel: 312.787.4949
                Monica.Khetarpal@jacksonlewis.com
                Monica.Khetamal@jacksonlewis.com
                Thanin.Stewart@jacksonlewis.com
                Thanin.Stewart@jacksonlewis.com




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                   6
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                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       I, Monica
       I, Monica H.
                 H. Khetarpal,
                    Khetarpal, an
                               an attorney,
                                  attorney, certify
                                            certify that
                                                    that on
                                                         on June 16, 2021,
                                                            June 16, 2021, aa true
                                                                              true and
                                                                                   and correct
                                                                                       correct copy
                                                                                               copy

of the
of the foregoing
       foregoing DEFENDANTS'
                 DEFENDANTS’ MOTION
                             MOTION TO
                                    TO COMPEL PLAINTIFF’S DISCOVERY
                                       COMPEL PLAINTIFF'S DISCOVERY

RESPONSES was
RESPONSES was electronically-filed with the
              electronically-filed with the Clerk
                                            Clerk of
                                                  of the
                                                     the Court
                                                         Court using
                                                               using the
                                                                     the CM/ECF
                                                                         CM/ECF system.
                                                                                system.

Notice of
Notice of this
          this filing
               filing will
                      will be
                           be sent
                              sent to
                                   to counsel
                                      counsel of
                                              of record via the
                                                 record via the Court's
                                                                Court’s electronic filing system.
                                                                        electronic filing system.

Parties may
Parties may access
            access this
                   this filing
                        filing through
                               through the
                                       the Court's
                                           Court’s system.
                                                   system.

                                                             /s/ Monica H.
                                                             /s/ Monica H. Khetarpal
                                                                           Khetarpal
                                                             One of
                                                             One  of Defendants'
                                                                     Defendants’ Attorneys
                                                                                 Attorneys




                                                7
                                                7
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  EXHIBIT
    A
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                        THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

DOMINIQUE POULIOT,                             )
                                               )      Case No. 19-cv-02067
                       Plaintiff,              )
                                               )      Judge Colin S. Bruce
v.                                             )
                                               )      Magistrate Judge Eric I. Long
THE BOARD OF TRUSTEES OF THE                   )
UNIVERSITY OF ILLINOIS, DALE A.                )
VAN HARLINGEN, DENISE                          )
DONNELLY, individually, CRAIG                  )
HOEFER, individually,                          )
Defendants.                                    )

                                     OF THE
     DEFENDANT THE BOARD OF TRUSTEES OF THE UNIVERSITY OF ILLINOIS'
                                            UNIVERSITY OF ILLINOIS’
              FIRST SET OF INTERROGATORIES TO PLAINTIFF


        Pursuant to Federal Rule of Civil Procedure 33, Defendants, The Board of Trustees of the

                       (“The Board")
University of Illinois ("The Board”) directs Plaintiff, Dominique Pouliot, to produce the requested

documents for inspection and copying by mailing or delivering them to Monica H. Khetarpal c/o

Jackson Lewis P.C., 150 North Michigan Avenue Suite 2500 Chicago, Illinois 60601, within thirty

(30) days of service of this Request.

                                         INSTRUCTIONS


        1.     In answering these interrogatories, please furnish all information available to you,

including information in the possession of you, any attorneys, any investigators, and all persons

acting on your behalf. If you cannot answer the interrogatories in full after exercising due diligence

to secure the information, so state and answer to the extent possible.

        2.     The interrogatories that follow are to be considered as continuing in nature, and you

are requested to provide, by way of supplementary answers thereto, such additional information

as you or any person acting on your behalf may hereafter obtain which will augment, clarify, or
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otherwise modify the answers now given to these interrogatories. Any supplemental answers

should be provided as promptly and as long before the trial date as possible.

        3.      Whenever your answer or any part thereof is based upon information and belief,

identify the source and basis of your information or belief.


         4.     The singular includes
                The singular          the plural
                             includes the plural and
                                                 and vice
                                                     vice versa;
                                                          versa; the
                                                                 the words
                                                                     words "and"
                                                                           “and” and
                                                                                 and "or"
                                                                                     “or” shall
                                                                                          shall be
                                                                                                be

both conjunctive and disjunctive as necessary, to make the request inclusive rather than exclusive;

the words
the words "each,"
          “each,” "any,
                  “any, and
                        and "all"
                            “all” are
                                  are both
                                      both singular
                                           singular and
                                                    and plural;
                                                        plural; the
                                                                the word
                                                                    word "all"
                                                                         “all” means
                                                                               means "any
                                                                                     “any and
                                                                                          and all,"
                                                                                              all,”

and the
and the word
        word "any"
             “any” means
                   means "any
                         “any and
                              and all,"
                                  all,” the
                                        the word
                                            word "including"
                                                 “including” means
                                                             means "including
                                                                   “including without
                                                                              without

limitation,” the
limitation," the words
                 words "he"
                       “he” or
                            or "she"
                               “she” or
                                     or any
                                        any other
                                            other masculine
                                                  masculine or
                                                            or feminine pronoun includes
                                                               feminine pronoun          any
                                                                                includes any

individual regardless of sex. The use of any tense of any verb shall be considered to include also

in its meaning all other tenses of the verb so used.

         5.     Each interrogatory which seeks information relating in any way to communications

to, from, or within a business and/or corporate entity, is hereby designated to demand, and should

be construed to include, all communications by and between representatives, employees, agents,

brokers and/or servants of the business and/or corporate entity.

                                           DEFINITIONS


        A.                “Complaint” and/or "this
                The terms "Complaint"        “this Action"
                                                   Action” refer
                                                           refer to
                                                                 to the
                                                                    the action
                                                                        action Plaintiff
                                                                               Plaintiff filed that
                                                                                         filed that

is presently pending in the in the United States District Court for the Central of Illinois, Urbana

Division, Case No. 2:19-cv-02067, including the original complaint and all amended complaints.

        B.               “Plaintiff,” "you"
                The term "Plaintiff," “you” or
                                            or "your"
                                               “your” shall mean Plaintiff, Dominique Pouliot,

and all agents, attorneys, or investigators, and other representatives of Plaintiff in their capacity as

such.




                                                   2
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       C.                “The Board”
                The term "The Board" shall mean Defendant The Board of Trustees of the

University of Illinois, and all agents, attorneys, or investigators, and other representatives of

Defendant in their capacity as such.

       D.                “Defendants” shall mean Defendants The Board, Denise Donnelly, Dale
                The term "Defendants"

Van Harlingen, and Craig Hoefer.

       E.                “representative” or "representatives"
                The term "representative"    “representatives” used with reference to a person

includes any:

                1. Officer, director, partner, associate, employee, attorney, servant, agent,
                   subsidiary, division, and affiliate of such person, and;

                2. Any other person or legal or business entity acting on behalf of, or in concert
                   with, such person, including any contractor, attorney, or any other person of
                   any description which such person has retained or employed for business,
                   financial or other reasons.

       F.       “Person” or "Employer"
                "Person"    “Employer” means and includes, without limiting the generality of

its meaning, any natural person; corporate or business entity; firm; partnership; association,

unincorporated association, trust or any other legal, business or government entity, agency, or

subdivision; committee; commission; or other organization or entity.

       G.                 “concerning,” "evidencing,"
                The terms "concerning," “evidencing,” "relate
                                                      “relate to,"
                                                              to,” and "relating
                                                                       “relating to,"
                                                                                 to,” means

relating to, referring to, alluding to, responding to, connected with, commenting on, in respect of,

about, regarding, discussing, showing, describing, reflecting, analyzing, constituting, mentioning,

supporting or concerning, directly or indirectly, or in any way relevant to the specified subject.

       H.       “Identify” or
                "Identify" or ‘identity,” with respect
                              `identity," with respect to
                                                       to aa natural
                                                             natural person,
                                                                     person, means
                                                                             means to
                                                                                   to state
                                                                                      state (1)
                                                                                            (1) his
                                                                                                his or
                                                                                                    or

her full name; (2) his or her last known home address and telephone number; (3) his or her present

or last known employment position and employer; (4) his or her business address and telephone

number; and, (5) his or her relationship, if any, to you.



                                                  3
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       I.      “Identify” or
               "Identify" or "identity,"
                             “identity,” with
                                         with respect to aa firm,
                                              respect to    firm, proprietorship,
                                                                  proprietorship, association,

partnership, corporation or any other type of organization or entity, means to state (1) the full name

under which such entity is doing business; (2) the full business address and telephone number of

such entity; and, (3) the individuals at the entity with whom you had contact.

       J.      “Communication” or
               "Communication" or "communicate"
                                  “communicate” means any transmission or exchange of

information between two or more persons, orally or in writing, and includes, without limitation,

any conversation or discussion, whether face-to-face or by means of any telephone, email, text,

mail, letter, memoranda, telecopies, electronic or other online media, including postings and

                                                                 Linkedln. To
messages on Internet social media such as Facebook, Twitter, and LinkedIn.    “identify” aa
                                                                           To "identify"

communication means to state whether the communication was oral, written on paper or other

material, communicated electronically, or communicated in some other manner, specifying how.

If the communication was oral, identify the participants, the date, the place, whether the

communication was in person, provide a summary of the conversation, and identify any notes,

memoranda, diaries or other documents relating thereto.

       K.               “conversation(s)” means all oral communication regardless of the
               The term "conversation(s)"

manner in which such communication took place. When identification of a conversation is

requested, the following shall be separately stated as to each communication: the date; the place

or places at which it occurred; the persons involved and their business affiliations; the substance

of the communication; and the name and address of any other person, who, although not present

or involved, possesses information concerning the existence or nature of such communication.

       L.      “Document” shall mean any written, printed, typed, recorded, transcribed,
               "Document"

punched, taped, or graphic matter of every type and description, however and by whomever

prepared, produced, reproduced, disseminated, or made, in the actual or constructive possession,



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custody, or control of Plaintiff, or the existence of which you have knowledge, including but not

limited to all writings, letters, envelopes, routing slips, statements, computer printouts, pleadings,

filings, affidavits, memoranda, opinions, analyses, evaluations, journals, statistical records,

worksheets, tabulations, records and/or minutes of meetings, handwritten notes, instruments,

specifications, logs, plans, drawings, sketches, diagrams, blueprints, Photostats, charts, motion

pictures, bulletins, telegrams, telexes, memoranda, notes, instructions, literature, work

assignments, notebooks, diaries, calendars, records, agreements, contracts, notations of telephone

or personal conversations or conferences, messages, inter-office or intra-office communications,

e-mail, microfilm, circulars, pamphlets, studies, notices, summaries, reports, books, checks, credit

card vouchers, statements of account, receipts, invoices, graphs, photographs, drafts, data sheets,

data compilations, computer data sheets, computer data compilations, work sheets, statistics,

speeches or other writings, tape recordings, audiotapes, videotapes, phonograph records, data

compilations from which information can be obtained or can be translated through detection

devices into reasonably usable form, including, but not limited to, CD, DVD, external or internal

hard drives, thumb drives, or any other tangible thing that records information in any way which

constitute or contain discoverable matters including all programs necessary for accessing any

electronically stored
electronically stored information.
                      information. The term "document"
                                   The term “document” shall
                                                       shall include
                                                             include the original and any copies

that differ in any manner whatsoever from the original (whether different from the original because

of notes made on such copy or otherwise) and any drafts thereof. For purposes of this definition,

a document is within the possession or control of you if it is in the possession or control of any of

your attorneys, investigators for your attorneys, independent accountants, directors, trustees, or

any person acting on behalf of or in concert with you or with any of the above-referenced

individuals, or
individuals, or otherwise
                otherwise in
                          in their
                             their possession
                                   possession or
                                              or control.
                                                 control. The
                                                          The term
                                                              term "document"
                                                                   “document” shall
                                                                              shall also
                                                                                    also include
                                                                                         include



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all electronically
all                stored information
    electronically stored information ("ESI"),
                                      (“ESI”), which
                                               which is
                                                     is information created, manipulated,
                                                        information created, manipulated, stored,
                                                                                          stored,

and best utilized in digital form, requiring the use of computer hardware and software. ESI

includes, but is not limited to e-mails, text messages, instant messages, internet message boards,

postings, social networking activity, posting and messages on social media such as Facebook,

Twitter, MySpace, and LinkedIn.

                                      INTERROGATORIES

INTERROGATORY NO. 1:

       Identify, by case name, court, and docket number, each and every criminal proceeding,

administrative proceeding (including but not limited to any application for Social Security

disability benefits), bankruptcy proceeding, and civil suit, in Canada or in the United States, in

which Plaintiff has been involved, and state the current status or final disposition of the proceeding.

Also, with respect to each judicial or administrative complaint or charge that Plaintiff has instituted

against any organization or individual, and each judicial or administrative complaint to which

Plaintiff has been a party, state the index, docket, complaint, charge, or other identification number

or designation, and state the current status or final disposition of the proceeding.

ANSWER:



INTERROGATORY NO. 2:

       Identify each person who supplied information to answer these interrogatories and specify

by number those answers to which each such person supplied information.

ANSWER:




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INTERROGATORY NO. 3:

       Identify by full name, address, telephone number, and employer each person, other than

any legal counsel, with whom you, or someone acting on your behalf, have communicated

regarding this lawsuit, the allegations in your Complaint, or the defenses in Defendants'
                                                                              Defendants’ Answer

to your Complaint, or the circumstances surrounding your termination, and describe the date,

place, method of communication, all individuals involved in the communication, and summary of

the communication.

ANSWER:



INTERROGATORY NO. 4:

       Identify all sources
       Identify all sources of
                            of Plaintiffs
                               Plaintiff’s income
                                           income and
                                                  and the
                                                      the amounts
                                                          amounts of
                                                                  of income received from
                                                                     income received from each
                                                                                          each

source from January 1, 2011 through the present, including but not limited to: (a) income from

employment; and (b) any monetary benefits, including but not limited to benefits received from a

government, private, or employer-sponsored plan or from any source including any monies

received from public or private sources.

ANSWER:



INTERROGATORY NO. 5:

       State whether Plaintiff has been convicted of any crimes during the last 10 years, including

any such convictions which have been suspended or expunged, and with respect to each, state: (a)

the date or approximate date of the conviction(s); (b) the crime(s) for which Plaintiff was

convicted; and (c) the case number(s), court name(s) and address of the court(s) in which Plaintiff

was convicted.



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ANSWER:



INTERROGATORY NO. 6:

       Identify every individual with personal knowledge of facts pertaining to the allegations in

Plaintiff’s Complaint and/or who may have discoverable knowledge, information, or data
Plaintiffs

regarding this
regarding this matter
               matter (including
                      (including but
                                 but not
                                     not limited
                                         limited to
                                                 to the
                                                    the individuals
                                                        individuals named
                                                                    named in
                                                                          in Plaintiffs
                                                                             Plaintiff’s Rule
                                                                                         Rule

26(a)(1) disclosures), and state the subject(s) of that knowledge, information, or data and the basis

for stating the individual has the knowledge, information, or data (including but not limited to

identifying the date of any conversations with the individual disclosed and the substance of each

conversation).

ANSWER:



INTERROGATORY NO. 7:

       State whether Plaintiff has ever lodged an internal complaint of any kind regarding the

terms and conditions of her employment, including but not limited to complaints about

compensation, while employed by any employer other than the University. If the answer is in the

affirmative, state the name of all such persons to whom the complaint was made, when the

complaint was made, the nature of the complaint lodged and the resolution thereof.

ANSWER:



INTERROGATORY NO. 8:

       Identify each expert retained or contacted by Plaintiff or her agents, and state the subject

matter of
matter of the
          the expert's
              expert’s proposed
                       proposed testimony,
                                testimony, the
                                           the substance
                                               substance of
                                                         of the
                                                            the facts and opinions
                                                                facts and opinions to
                                                                                   to which
                                                                                      which the
                                                                                            the



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expert is expected to testify, and a summary of the grounds for each opinion. Identify any report

or any written opinion relating to this case prepared by such expert.

ANSWER:



INTERROGATORY NO. 9:

     Identify the name, address, telephone number, and employer of each individual whom you

expect to call, or rely upon during this litigation, as a witness and briefly state the nature of each

such person's
such person’s expected
              expected testimony.
                       testimony.

ANSWER:



INTERROGATORY NO. 10:

       Identify each and every document you have in your possession and/or of which you have

knowledge that supports or negates in any fashion any of the allegations in your Complaint or any

of the
of the defenses in Defendant's
       defenses in Defendant’s Answer
                               Answer to
                                      to your
                                         your Complaint.
                                              Complaint.

ANSWER:




INTERROGATORY NO. 11:

       Please identify each document you expect to use as an exhibit during this litigation and

briefly state the nature of such document.

ANSWER:




                                                  9
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INTERROGATORY NO. 12:

        Identify the date, location, and substance of any conversation or communication with

Defendant Denise Donnelly which Plaintiff alleges in her Complaint to have had, regarding

Plaintiff’s age
Plaintiffs  age or
                or age
                   age discrimination
                       discrimination in the UTUC
                                      in the UIUC Physics
                                                  Physics Department, including but not limited

to those stated in Paragraphs 63-76, 865.

ANSWER:




INTERROGATORY NO. 13:

        Identify the person(s) with whom Plaintiff communicated, date, location, and substance of

any conversation or communication with any member of the Office of Diversity, Equity and

Access ("ODEA"),
Access (“ODEA”), including
                 including but
                           but not
                               not limited
                                   limited to
                                           to the
                                              the conversation
                                                  conversation with
                                                               with an
                                                                    an unnamed
                                                                       unnamed ODEA
                                                                               ODEA officer
                                                                                    officer

whom Plaintiff
whom Plaintiff alleges
               alleges in
                       in Paragraph
                          Paragraph 111
                                    111 of
                                        of the
                                           the Complaint,
                                               Complaint, told
                                                          told her
                                                               her that
                                                                   that Donnelly's
                                                                        Donnelly’s actions
                                                                                   actions were
                                                                                           were

“illegal.”
"illegal."

ANSWER:



INTERROGATORY NO. 14:

        In regards to the allegations of Paragraph 115 of the Complaint, identify the person(s) to

whom Plaintiff complained in 2017, the date of her complaints, the location of the

communications, and the substance of any complaints regarding the work Plaintiff was allegedly

performing, her reinstatement, assistance obtaining a new visa, and any discrimination or

retaliation she was alleging.




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ANSWER:



INTERROGATORY NO. 15:

       Identify the name, age, gender, national origin, and visa status of each and every

                                                           UIUC Physics Department whom
Postdoctoral Research Associate or other researcher in the UTUC

Plaintiff alleges to be a comparator who was treated more favorably than she was.

ANSWER:



INTERROGATORY NO. 16:

       Identify every social media site (e.g., Facebook, MySpace, LinkedIn, Twitter, a blog, etc.)

to which you have subscribed from January 1, 2011 to the present, specifically identifying which

such sites you have posted content, such as a profile, comments, status updates, etc., from January

1, 2011 to the present.

ANSWER:



INTERROGATORY NO. 17:

       Identify each and every e-mail address from which you have sent emails or at which you

have received e-mails from January 1, 2011 to the present.

ANSWER:



INTERROGATORY NO. 18:

       With respect to each type of relief you seek in the litigation, describe in detail the nature of

the relief (i.e., monetary, equitable and/or declaratory); the specific monetary amount(s) of



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damages sought and the manner in which each such amount was calculated; and, to the extent you

are seeking
are seeking the
            the recovery
                recovery of
                         of attorneys'
                            attorneys’ fees or costs
                                       fees or       in this
                                               costs in this action,
                                                             action, state
                                                                     state the
                                                                           the fee and/or compensation
                                                                               fee and/or compensation

arrangement between you and your attorney(s) that applies to this litigation.

ANSWER:



INTERROGATORY NO. 19:

       Identify any social worker, counselor, priest, minister, preacher, or other person with whom

Plaintiff has sought and/or is currently seeking treatment for emotional distress, mental pain and

suffering, or mental anguish from January 1, 2011 to the present.

ANSWER:



INTERROGATORY NO. 20:

       Identify each and every individual who you, or an agent working on your behalf, contacted,

spoke to, corresponded with, or who contacted you or an agent working on your behalf regarding

any of the allegations contained in the Amended Complaint, and include: (a) the dates of contact,

conversation, or correspondence; (b) the purpose of each contact, conversation, or correspondence;

(c) the substance of that conversation, contact, or correspondence; and (d) whether any written

report, notes, or memorandum was prepared by you or such person relative to the contact,

conversation, or correspondence.

ANSWER:




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INTERROGATORY NO. 21:

        Describe each and every complaint Plaintiff made to the University between 2011 and the

present about her concerns that she were being paid less than her counterparts and her belief that

the compensation disparity was based on gender, age, or national origin, and for each include: (a)

the names and titles of any and all people to whom she directed the complaints and any witnesses

to the complaint; (b) the date of the complaint; (c) the method of communication (in-person oral

communication, e-mail, telephonic communication, etc.); (d) the substance of the communication

including any responses or exchanges.

ANSWER:



INTERROGATORY NO. 22:

        Identify each and every physician, psychiatrist, psychologist, social worker or other

healthcare provider whom Plaintiff visited, consulted or received treatment from relative to any

physical or emotional condition Plaintiff alleges that Defendants have caused. For each physician

or other healthcare provider identified, state (a) his or her address; (b) any institutions with which

he or she is presently associated or affiliated; (c) any institutions with which the person was

associated or affiliated while treating Plaintiff; (d) his or her occupation; (d) his or her area of

specialization, if any; (e) the date Plaintiff first consulted that person or entity; (f) the condition

for which treatment was sought; (g) the diagnosis that was rendered; (h) the nature of the treatment

rendered; (i) whether Plaintiff is presently receiving treatment or consultation from such person or

entity; and (j) the cost of treatment.

ANSWER:




                                                  13
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INTERROGATORY NO. 23:

       Identify each person with whom Plaintiff discussed her belief that she was being paid less

                                                                    and for
than her counterparts based on her gender, age, or national origin, and for each state the
                                                                            each state the person's
                                                                                           person’s

name, title, date of the conversation, and the substance of the communication.

ANSWER:




INTERROGATORY NO. 24:

       Describe in detail each instance of retaliation that you believe you suffered as a result of

complaining about discrimination at the University.

ANSWER:




INTERROGATORY NO. 25:

       For each year between 2011 and 2017, inclusive of those years, (which are the years that

you allege to have been associated with Professor Leggett and/or the University of Illinois), please

describe the nature of the work you did in detail, including what work you did, who asked you to

do the work, who supervised your work (if anyone), how your work product was used (if at all),

and how much time you spent each week doing the work.

ANSWER:




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Dated: July 1, 2019                 THE BOARD OF TRUSTEES OF THE
                                    UNIVERSITY OF ILLINOIS

                                        /s/ Monica H. Khetarpal
                                    By: /s/
                                            One of Its Attorneys

Monica H. Khetarpal
Priya P. Khatkhate
Jackson Lewis P.C.
150 North Michigan Avenue, Suite 2500
Chicago, IL 60601
Phone: (312) 787-4949 |I Fax: (312) 787-4995        `
Monica.Khetarpal@jacksonlewis.com
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Priya.Khatkhate@jacksonlewis.com




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                                CERTIFICATE OF SERVICE

       I, Monica H, Khetarpal, an attorney, certify that on July 1, 2019, a true and correct copy of

the foregoing DEFENDANT THE BOARD OF TRUSTEES OF THE UNIVERSITY OF

ILLINOIS’ FIRST SET INTERROGATORIES TO PLAINTIFF to be served via U.S. Mail,
ILLINOIS'

postage pre-paid, and e-mail to the following:

                                         Keith L. Hunt
                                        Bradley E. Faber
                                    Hunt & Associates, P.C.
                                  55 West Monroe, Suite 3600
                                     Chicago, Illinois 60603
                                   khunt@huntassoclaw.com
                                   bfaber@huntassoclaw.com


                                                      /s/ Monica H. Khetarpal
                                                                    Defendant’s Attorneys
                                                             One of Defendant's




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                        THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

DOMINIQUE POULIOT,                            )
                                              )       Case No. 19-cv-02067
                       Plaintiff,             )
                                              )       Judge Colin S. Bruce
v.                                            )
                                              )       Magistrate Judge Eric I. Long
THE BOARD OF TRUSTEES OF THE                  )
UNIVERSITY OF ILLINOIS, DALE A.               )
VAN HARLINGEN, DENISE                         )
DONNELLY, individually, CRAIG                 )
HOEFER, individually,                         )
                                              )
                       Defendants.            )


     DEFENDANT THE BOARD OF TRUSTEES OF THE UNIVERSITY OF ILLINOIS’
                                                          ILLINOIS'
                   FIRST SET OF REQUESTS TO PLAINTIFF
         FOR THE PRODUCTION OF DOCUMENTS AND TANGIBLE THINGS

        Pursuant to Federal Rule of Civil Procedure 34, Defendants, The Board of Trustees of the

                       (“The Board"),
University of Illinois ("The Board”), by its attorneys, direct Plaintiff, Dominique Pouliot, to

produce the requested documents for inspection and copying by mailing or delivering them to

Monica H. Khetarpal c/o Jackson Lewis P.C., 150 North Michigan Avenue Suite 2500 Chicago,

Illinois 60601, within thirty (30) days of service of this Request.

                                        INSTRUCTIONS

        A.     In responding to these Requests, produce all documents and things that are in your

custody, possession, or control, including documents and things in the custody, possession, or

control of your attorneys, investigators for your attorneys, independent accountants, agents, or any

person acting on behalf of or in concert with you or with any of these individuals, and not merely

documents and things from your own personal files.
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       B.      The documents produced in response to this request shall include all attachments

and enclosures.

       C.      Each request to produce a document or documents should be considered as

including a request for separate production of all non-identical copies and, to the extent applicable,

preliminary drafts of documents that differ in any respect from the original or final
                                                                                fmal draft or from

each other (e.g., by reason of differences in form or content or by reason of handwritten notes or

comments having been added to one copy of a document but not on the original or other copies

thereof).

       D.      If any document or thing that is responsive to a request is incomplete or has been

altered, state in what respect the document or thing is incomplete or altered, and explain the reasons

therefor.

       E.      If you cannot respond to any of the following Requests in full, respond as

completely as possible, specifying the nature (if known) and reasons why you are unable to respond

in full, and provide whatever information you have concerning the unprovided things, documents,

or portions of documents, including the source or sources from which the things, documents, or

portions of documents can be obtained and that portion of the documentation that can be produced.

       F.      If documents or things requested are not reasonably available to you in precisely

the form requested, or for the particular date or period specified, but could be produced in a

modified form and/or for a slightly different date or period, then you are requested to respond to

that request in such modified form or for such different date or period.

       G.      If the documents requested in this Request are unavailable because they have been

destroyed or lost, identify which documents were destroyed or lost by date, author, addressee and

subject matter; if the documents were destroyed, state when, why, how and by whom they were



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destroyed; and state further the identity of the person(s) ordering, authorizing, and supervising

such disposition, the reason for the disposition and the person(s) performing such disposition, and

the identity of all persons having knowledge of such document or thing, or the substance or

contents of the document or the nature of the thing disposed of, and the identity of all persons

having knowledge of such document or thing if lost state when they were determined to be lost,

when and in whose possession they were last known to exist and any known circumstances

concerning their disappearance or loss.

       H.      Each request which seeks information relating in any way to communications to,

from, or within a business and/or corporate entity, is hereby designated to demand, and should be

construed to include, all communications by and between representatives, employees, agents,

brokers and/or servants of the business and/or corporate entity.

       I.      If any document or portion thereof is or will be withheld because of a claim of

privilege or work product:

               1. The place, date and manner of recording or otherwise preparing the document;

               2. The name and title of the sender;

               3. The identity of each person or persons (other than stenographic or clerical
                  assistants) participating in the preparation of the document;

               4. The identity of each person to whom the contents of the document have
                  heretofore been communicated by copy, exhibition, sketch, reading or
                  substantial summarization, the dates of said communication, and the employer
                  and title of said person at the time of said communication;

               5. Type of document;

               6. Subject matter (without revealing the relevant information for which privilege
                  or statutory authority is claimed); and

               7. Factual and legal basis for claimed privilege or specific statutory or regulatory
                  authority which provides the claimed ground for nonproduction.



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        J.                                           vice versa;
                The singular includes the plural and vice versa; the
                                                                 the words
                                                                     words "and"
                                                                           “and” and
                                                                                 and "or"
                                                                                     “or” shall
                                                                                          shall be
                                                                                                be

both conjunctive and disjunctive as necessary, to make the request inclusive rather than exclusive;

the words
the words "each,"
          “each,” "any,
                  “any, and
                        and "all"
                            “all” are
                                  are both
                                      both singular
                                           singular and
                                                    and plural;
                                                        plural; the
                                                                the word
                                                                    word "all"
                                                                         “all” means
                                                                               means "any
                                                                                     “any and
                                                                                          and all,"
                                                                                              all,”

             “any” means
and the word "any" means "any
                         “any and
                              and all,"
                                  all,” the
                                        the word
                                            word "including"
                                                 “including” means
                                                             means "including
                                                                   “including without
                                                                              without

limitation,” the
limitation," the words
                 words "he"
                       “he” or
                            or "she"
                               “she” or
                                     or any
                                        any other
                                            other masculine
                                                  masculine or
                                                            or feminine pronoun includes
                                                               feminine pronoun          any
                                                                                includes any

individual regardless of sex. The use of any tense of any verb shall be considered to include also

in its meaning all other tenses of the verb so used.

        K.      Please note that these are continuing document requests and that you are under a

continuing duty to seasonably supplement the production with documents obtained subsequent to

the preparation and service of a response to each request. If additional information and/or

documents are received prior to the date of trial, supplemental answers should be provided setting

forth such additional information or producing such documents as promptly and as long before the

trial date as possible.

                                           DEFINITIONS

        A.                “Complaint” and/or "this
                The terms "Complaint"        “this Action"
                                                   Action” refer
                                                           refer to
                                                                 to the
                                                                    the action
                                                                        action Plaintiff
                                                                               Plaintiff filed that
                                                                                         filed that

is presently pending in the in the United States District Court for the Central District of Illinois,

Urbana Division, Case No. 2:19-cv-02067, including the original complaint and all amended

complaints.

        B.               “Plaintiff,” "you"
                The term "Plaintiff," “you” or
                                            or "your"
                                               “your” shall mean Plaintiff, Dominique Pouliot,

and all agents, attorneys, or investigators, and other representatives of Plaintiff in their capacity as

such.




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       C.                “The Board”
                The term "The Board" shall mean Defendant The Board of Trustees of the

University of Illinois, and all agents, attorneys, or investigators, and other representatives of

Defendant in their capacity as such.

       D.                “Defendants” shall mean Defendants The Board, Denise Donnelly, Dale
                The term "Defendants"

Van Harlingen, and Craig Hoefer.

       E.                “representative” or "representatives"
                The term "representative"    “representatives” used with reference to a person

includes any:

                1. Officer, director, partner, associate, employee, attorney, servant, agent,
                   subsidiary, division, and affiliate of such person, and;

                2. Any other person or legal or business entity acting on behalf of, or in concert
                   with, such person, including any contractor, attorney, or any other person of
                   any description which such person has retained or employed for business,
                   financial or other reasons.

       F.       “Person” or "Employer"
                "Person"    “Employer” means and includes, without limiting the generality of

its meaning, any natural person; corporate or business entity; firm; partnership; association,

unincorporated association, trust or any other legal, business or government entity, agency, or

subdivision; committee; commission; or other organization or entity.

       G.                 “concerning,” "evidencing,"
                The terms "concerning," “evidencing,” "relate
                                                      “relate to,"
                                                              to,” and "relating
                                                                       “relating to,"
                                                                                 to,” means

relating to, referring to, alluding to, responding to, connected with, commenting on, in respect of,

about, regarding, discussing, showing, describing, reflecting, analyzing, constituting, mentioning,

supporting or concerning, directly or indirectly, or in any way relevant to the specified subject.

       H.       “Identify” or
                "Identify" or ‘identity,” with respect
                              `identity," with respect to
                                                       to aa natural
                                                             natural person,
                                                                     person, means
                                                                             means to
                                                                                   to state
                                                                                      state (1)
                                                                                            (1) his
                                                                                                his or
                                                                                                    or

her full name; (2) his or her last known home address and telephone number; (3) his or her present

or last known employment position and employer; (4) his or her business address and telephone

number; and, (5) his or her relationship, if any, to you.



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       I.      “Identify” or
               "Identify" or "identity,"
                             “identity,” with
                                         with respect to aa firm,
                                              respect to    firm, proprietorship,
                                                                  proprietorship, association,
                                                                                  association,

partnership, corporation or any other type of organization or entity, means to state (1) the full name

under which such entity is doing business; (2) the full business address and telephone number of

such entity; and, (3) the individuals at the entity with whom you had contact.

       J.      “Communication” or
               "Communication" or "communicate"
                                  “communicate” means any transmission or exchange of

information between two or more persons, orally or in writing, and includes, without limitation,

any conversation or discussion, whether face-to-face or by means of any telephone, email, text,

mail, letter, memoranda, telecopies, electronic or other online media, including postings and

                                                                 Linkedln. To
messages on Internet social media such as Facebook, Twitter, and LinkedIn.    “identify” aa
                                                                           To "identify"

communication means to state whether the communication was oral, written on paper or other

material, communicated electronically, or communicated in some other manner, specifying how.

If the communication was oral, identify the participants, the date, the place, whether the

communication was in person, provide a summary of the conversation, and identify any notes,

memoranda, diaries or other documents relating thereto.

       K.               “conversation(s)” means all oral communication regardless of the
               The term "conversation(s)"

manner in which such communication took place. When identification of a conversation is

requested, the following shall be separately stated as to each communication: the date; the place

or places at which it occurred; the persons involved and their business affiliations; the substance

of the communication; and the name and address of any other person, who, although not present

or involved, possesses information concerning the existence or nature of such communication.

       L.      “Document” shall mean any written, printed, typed, recorded, transcribed,
               "Document"

punched, taped, or graphic matter of every type and description, however and by whomever

prepared, produced, reproduced, disseminated, or made, in the actual or constructive possession,



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custody, or control of Plaintiff, or the existence of which you have knowledge, including but not

limited to all writings, letters, envelopes, routing slips, statements, computer printouts, pleadings,

filings, affidavits, memoranda, opinions, analyses, evaluations, journals, statistical records,

worksheets, tabulations, records and/or minutes of meetings, handwritten notes, instruments,

specifications, logs, plans, drawings, sketches, diagrams, blueprints, Photostats, charts, motion

pictures, bulletins, telegrams, telexes, memoranda, notes, instructions, literature, work

assignments, notebooks, diaries, calendars, records, agreements, contracts, notations of telephone

or personal conversations or conferences, messages, inter-office or intra-office communications,

e-mail, microfilm, circulars, pamphlets, studies, notices, summaries, reports, books, checks, credit

card vouchers, statements of account, receipts, invoices, graphs, photographs, drafts, data sheets,

data compilations, computer data sheets, computer data compilations, work sheets, statistics,

speeches or other writings, tape recordings, audiotapes, videotapes, phonograph records, data

compilations from which information can be obtained or can be translated through detection

devices into reasonably usable form, including, but not limited to, CD, DVD, external or internal

hard drives, thumb drives, or any other tangible thing that records information in any way which

constitute or contain discoverable matters including all programs necessary for accessing any

electronically stored
electronically stored information.
                      information. The term "document"
                                   The term “document” shall
                                                       shall include
                                                             include the
                                                                     the original
                                                                         original and
                                                                                  and any
                                                                                      any copies
                                                                                          copies

that differ in any manner whatsoever from the original (whether different from the original because

of notes made on such copy or otherwise) and any drafts thereof. For purposes of this definition,

a document is within the possession or control of you if it is in the possession or control of any of

your attorneys, investigators for your attorneys, independent accountants, directors, trustees, or

any person acting on behalf of or in concert with you or with any of the above-referenced

individuals, or
individuals, or otherwise
                otherwise in
                          in their
                             their possession
                                   possession or
                                              or control.
                                                 control. The
                                                          The term
                                                              term "document"
                                                                   “document” shall
                                                                              shall also include



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all electronically
all                stored information
    electronically stored information ("ESI"),
                                      (“ESI”), which
                                               which is
                                                     is information created, manipulated,
                                                        information created, manipulated, stored,
                                                                                          stored,

and best utilized in digital form, requiring the use of computer hardware and software. ESI

includes, but is not limited to e-mails, text messages, instant messages, internet message boards,

postings, social networking activity, posting and messages on social media such as Facebook,

Twitter, and LinkedIn.


       M.      Defendant also incorporates by reference the Definitions set forth in its First Set of

Interrogatories Propounded to Plaintiff.


                    REQUESTS FOR PRODUCTION OF DOCUMENTS

REQUEST NO. 1: Please produce all documents and/or correspondence identified, referred to,

or related
or related to
           to Plaintiff's
              Plaintiff’s answers
                          answers to
                                  to Defendant's
                                     Defendant’s First
                                                 First Set
                                                       Set of
                                                           of Interrogatories
                                                              Interrogatories to Plaintiff.
                                                                              to Plaintiff

REQUEST NO. 2: Please produce all documents and/or correspondence used or relied on in the

preparation of
preparation of Plaintiff's
               Plaintiff’s answers
                           answers to
                                   to Defendant's
                                      Defendant’s First
                                                  First Set
                                                        Set of
                                                            of Interrogatories
                                                               Interrogatories to Plaintiff.
                                                                               to Plaintiff

REQUEST NO. 3: Please produce all documents that relate to or discuss all earned income

received by you for the years 2011 through the present.

REQUEST NO. 4: Please produce all documents or other evidentiary material that form the basis

of your computation of damages, which is required pursuant to Fed. R. Civ. P. 26(a)(1)(C).

REQUEST NO. 5: Please produce all documents evidencing or relating to the amount of

monetary loss that you assert you have experienced as a result of the actions of Defendants

alleged in the Complaint as of the date of your response to these Requests.

REQUEST NO. 6: Please produce all documents which discuss, mention or relate in any way to

any meetings, conversations or other communications you had at any time with any current or

former employee, independent contractor, representative or agent of Defendant including, but not

limited to, Denise Donnelly, Dale Van Harlingen, Craig Hoefer, Anthony Leggett, and Katherine

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Galvin, which relate to this Action or the subject matter of any of the allegations in your

Complaint.

REQUEST NO. 7: Please produce all documents which discuss, mention or relate in any way to

any meetings, conversations or other communications you had at any time with any current or

                                                                    Defendant’s Office
former employee, independent contractor, representative or agent of Defendant's Office of
                                                                                       of

Diversity, Equity, and Access.

REQUEST NO. 8: Please produce all documents that reference, evidence, relate to, discuss, or

support, your allegations of retaliation by Defendant.

REQUEST NO. 9: Please produce all documents of any kind in your possession, custody or

control relating to, regarding or concerning the allegation in Paragraph 90 of your Complaint that

Defendant Donnelly
Defendant Donnelly told
                   told Plaintiff
                        Plaintiff that
                                  that "You'll
                                       “You’ll never
                                               never get
                                                     get aa TN Visa,” criticized
                                                            TN Visa," criticized Plaintiff
                                                                                 Plaintiff based
                                                                                           based on
                                                                                                 on

Plaintiff’s age,
Plaintiffs  age, and
                 and told
                     told Plaintiff
                          Plaintiff that
                                    that Plaintiff
                                         Plaintiff did
                                                   did not
                                                       not belong
                                                           belong tin the Physics Department.

REQUEST NO. 10: Please produce any and all documents such as written or recorded

statements, affidavits or declarations you have obtained from any individual including, but not

limited to, current or former employees of Defendant that concern or relate to the allegations in

your Complaint.

REQUEST NO. 11: Please produce any and all documents of any kind in your possession, custody

or control evidencing any employment you have held, including self-employment from 2010 to the

present but not limited to, compensation received, rate or method of pay, and other benefits.

REQUEST NO. 12: Please produce all documents that relate to or discuss any lawsuits

(including criminal actions and administrative matters), or claims, or bankruptcy proceedings,

formal or informal demands for compensation for wages, compensation, damages or any other

actions where you were a party or witness.



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REQUEST NO. 13: Please produce any and all notes, diaries, calendars, memos,

correspondence or writings of any kind made by you that in any way relate to your work with the

University of Illinois.

REQUEST NO. 14: Please produce all written and recorded statements and all documents that

relate to or discuss any written or recorded statement, affidavits, or declarations obtained by you

or your representative or agents from any individual (with or without their knowledge and

consent) concerning the subject matter of the your Complaint.

REQUEST NO. 15: Please produce all documents, declarations or other written or recorded

statements given by persons contacted or interviewed by Plaintiff, Plaintiffs
                                                                   Plaintiff's attorneys, or anyone

          Plaintiff's behalf, which in any way refer or relate to Plaintiffs
acting on Plaintiffs                                              Plaintiff's claims in your

Complaint.

REQUEST NO. 16: Please produce all documents that Plaintiff may offer into evidence at trial.

REQUEST NO. 17: Please produce all documents not produced in response to the above

                      Plaintiff's assertion that Defendants violated the Equal Pay Act and the
requests that support Plaintiffs

Illinois Equal Pay Act, thereby entitling Plaintiff to damages as described in the Complaint.

REQUEST NO. 18: Please produce all copies of federal and state income tax returns, whether

                                                                                  Plaintiff's behalf,
U.S. or Canadian, which Plaintiff filed singly or jointly, or which were filed on Plaintiffs

for tax years 2010 to the present, including all W-2 forms, primary source material and other

documents used in completing those forms.

                                         tax returns
REQUEST NO. 19: If any U.S. and Canadian tax returns requested
                                                     requested are
                                                               are not
                                                                   not in Plaintiff’s
                                                                       in Plaintiffs

possession or control, please complete and sign a copy of IRS Form 4506 and return it with your

responses.




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REQUEST NO. 20: Please produce all documents Plaintiff intends to identify or otherwise use

at any deposition, or in connection with any motion for summary judgment filed in this lawsuit.

REQUEST NO. 21: Please produce a privilege log for any documents withheld under any claim

of privilege or which Plaintiff contends are otherwise protected from discovery.

REQUEST NO. 22: Please produce all handbooks, employment manuals, leaflets, procedures,

guidelines, memos, bulletins, job descriptions, directives, policies, reports, statements, affidavits,

personnel policies, wage statements, tape recordings, video recordings, letters, notes,

communications (including emails or other computer communications), forms, tangible things,

and documents received by Plaintiff at any time from Defendants or any representatives of

Defendants.

REQUEST NO. 23: Please produce all documents relating to your performance while working

                                  your record
         UIUC Physics Department, your
with the MUC                           record of
                                              of attendance,
                                                 attendance, vacation
                                                             vacation and/or
                                                                      and/or "compensatory"
                                                                             “compensatory”

time, your performance evaluations, any disciplinary actions taken against you, or criticisms or

complaints made against you, to the extent such documents have ever existed.

REQUEST NO. 24: Please produce all resumes, cover letters, and/or applications that Plaintiff

submitted to any current employers or collaborators, including the MUC
                                                                   UIUC Physics Department,

prospective employers and/or third parties from January 1, 2010 to present.

REQUEST NO. 25: With respect to the websites, webpages, email and internet accounts you

were asked to identify in response to the interrogatories served in this , please produce copies of

your complete profile on Facebook, MySpace, LinkedIn,
                                            Linkedln, Twitter, Classmates, Google+,

Snapchat, Whatsapp, and all other social networking sites (including all updates, changes, or

modifications to your profiles) and all status updates, messages, wall comments, cause(s) joined,

group(s) joined, activity streams, blog entries, details, blurbs, comments, and application



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postings, which support, tend to support, refute, tend to refute, or relate to your claims or alleged

damages in the Complaint.

REQUEST NO. 26: Please produce copies of any comments and other postings made to a blog

or social networking website (such as Facebook, Twitter, or LinkedIn) from on or about January

1, 2010 to present. A copy of your Facebook account can be obtained by clicking the down

arrow at
arrow at the
         the top
             top right
                 right of
                       of any
                          any Facebook
                              Facebook page
                                       page and
                                            and selecting
                                                selecting Settings. Next click
                                                          Settings. Next click on
                                                                               on "Download
                                                                                  “Download a

copy of
copy of your
        your Facebook
             Facebook data,"
                      data,” and
                             and then
                                 then "Start
                                      “Start My
                                             My Archive."
                                                Archive.” Facebook
                                                          Facebook will
                                                                   will ask
                                                                        ask you
                                                                            you for
                                                                                for your
                                                                                    your

password. Submitting your password will cause Facebook to compile a .zip file for your account.

Please provide a copy of that .zip file.

REQUEST NO. 27: Please produce all documents of any kind in your possession, custody or

control relating to, regarding or concerning your application for J-1 Visa in or around 2011.

REQUEST NO. 28: Please produce all documents of any kind in your possession, custody or

control relating to, regarding or concerning your request for assistance from any of Defendants

       UIUC employee, including Dr. Leggett, with a visa application in 2016.
or any UlUC

REQUEST NO. 29: Please produce all documents of any kind in your possession, custody or

control relating
control relating to,
                 to, regarding
                     regarding or
                               or concerning
                                  concerning your
                                             your "conditional
                                                  “conditional offer
                                                               offer to
                                                                     to work
                                                                        work as
                                                                             as aa postdoctoral
                                                                                   postdoctoral

Research Associate"
Research Associate” and
                    and your
                        your "conditional
                             “conditional offer
                                          offer of
                                                of employment” with the
                                                   employment" with the MUC
                                                                        UIUC Physics
                                                                             Physics

Department, as alleged in Paragraphs 32 and 33 of your Complaint.

REQUEST NO. 30: Please produce all documents of any kind in your possession, custody or

control relating to, regarding or concerning any research-related travel you undertook while

                 UIUC Physics Department.
working with the UlUC




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REQUEST NO. 31: Please produce all documents of any kind in your possession, custody or

control relating to, regarding or concerning the allegation in Paragraph 95 of your Complaint that

you continued to work with Dr. Leggett from September to October 2016.

REQUEST NO. 32: Please produce all documents of any kind in your possession, custody or

control relating to, regarding or concerning the allegations in Paragraph 146 of your Complaint

that the Defendants intentionally selected you for termination based on your age.

REQUEST NO. 33: Please produce all documents of any kind in your possession, custody or

control relating to, regarding or concerning the allegations in your Paragraph 222 of your

Complaint that The Board had a policy of discriminating against Canadians.

REQUEST NO. 34: Please produce all documents of any kind in your possession, custody or

control that constitute time records, or other documents that indicate the amount of time you

allegedly spent working for Professor Leggett and/or the University of Illinois between 2011 and

the present.

REQUEST NO. 35: Please produce all documents of any kind in your possession, custody or

control that constitute work product that you claim you produced on behalf of, or at the direction

of, Professor Leggett and/or the University of Illinois.

Dated: July 1, 2019                   THE BOARD OF TRUSTEES OF THE
                                      UNIVERSITY OF ILLINOIS

                                                  /s/ Monica H. Khetarpal
                                              By: Is/
                                                      One of Its Attorneys

Monica H. Khetarpal
Priya P. Khatkhate
Jackson Lewis P.C.
150 North Michigan Avenue, Suite 2500
Chicago, IL 60601
Phone: (312) 787-4949 |I Fax: (312) 787-4995          `
Monica.Khetarpal@jacksonlewis.com
Monica.Khetaipal@jacksonlewis.com
Priya.Khatkhate@jacksonlewis.com


                                                 13
                         2:19-cv-02067-CSB-EIL # 61             Page 38 of 52




                                   CERTIFICATE OF SERVICE

         I, Monica H, Khetarpal, an attorney, certify that on July 1, 2019, a true and correct copy of the

                                                               ILLINOIS’
foregoing DEFENDANT THE BOARD OF TRUSTEES OF THE UNIVERSITY OF ILLINOIS'

FIRST SET OF REQUESTS TO PLAINTIFF FOR THE PRODUCTION OF DOCUMENTS

AND TANGIBLE THINGS to be served via U.S. Mail, postage pre-paid, and e-mail to the

following:

                                            Keith L. Hunt
                                           Bradley E. Faber
                                       Hunt & Associates, P.C.
                                     55 West Monroe, Suite 3600
                                        Chicago, Illinois 60603
                                      khunt@huntassoclaw.com
                                      bfaber@huntassoclaw.com


                                                         /s/ Monica H. Khetarpal
                                                                       Defendant’s Attorneys
                                                                One of Defendant's
4819-2983-6443, v. 1




                                                    14
2:19-cv-02067-CSB-EIL # 61   Page 39 of 52




   EXHIBIT
      B
                                   2:19-cv-02067-CSB-EIL # 61                Page 40 of 52




From: Mitchell
From: Mitchell Kline
               Kline <mkline@mitchellkline.com>
                     <mkline@mitchellkline.com>
Sent: Monday, April 26, 2021
Sent: Monday,  April 26,        4:20 PM
                         2021 4:20   PM
To: Khatkhate,
To: Khatkhate, Priya
               Priya Prakash
                     Prakash (Chicago)    <Priya.Khatkhate@jacksonlewis.com>
                               (Chicago) <Priya.Khatkhate@jacksonlewis.com>
Subject: Re:
Subject: Re: Pouliot
             Pouliot v.
                     v. Bd.
                        Bd. of
                            of Trs.
                               Trs. of the Univ.
                                    of the Univ. of
                                                 of III.
                                                    Ill. et
                                                         et al
                                                            al -- Deposition
                                                                  Deposition Notice
                                                                             Notice



[EXTERNAL SENDER]
[EXTERNAL SENDER

Hi counsel:



I am not available for the "remote"
                           “remote” deposition via Zoom on May 5. I will be having minor
surgery on May 6. I am available May 24, 26, 27, or 28. Thank you for your cooperation.



Mitch Kline




On Mon, Apr
On Mon, Apr 26,
            26, 2021
                2021 at 1:53 PM
                     at 1:53 PM Khatkhate,
                                Khatkhate, Priya
                                           Priya Prakash
                                                 Prakash (Chicago)
                                                         (Chicago) <Priya.Khatkhate@jacksonlewis.com>
                                                                   <Priya.Khatkhate@jacksonlewis.com> wrote:
                                                                                                      wrote:

 Good
 Good afternoon, Mitchell,
      afternoon, Mitchell,




 A notice
 A notice of
          of remote
             remote deposition for Ms.
                    deposition for Ms. Pouliot
                                       Pouliot on
                                               on May
                                                  May 5 at 11am
                                                      5 at 11am is
                                                                is attached.
                                                                   attached.




 Thank you,
 Thank you,

 Priya
 Priya



 Priya P.
 Priya P. Khatkhate
          Khatkhate
 Attorney at
 Attorney      Law
            at Law
 Jackson Lewis
 Jackson  Lewis P.C.
                 P.C.
 150 North
 150 North Michigan
              Michigan Avenue
                       Avenue Suite
                              Suite 2500
                                    2500
 Chicago
 Chicago,, IL
           IL 60601
              60601
                                                                3
                                                                3
                                   2:19-cv-02067-CSB-EIL # 61        Page 41 of 52


 Direct: (312)
 Direct:       803-2505 |I Main:
         (312) 803-2505          (312) 787-4949
                           Main: (312) 787-4949
 Priya.Khatkhate@jacksonlewis.com |I www.jacksonlewis.com
 Priya.Khatkhate@jacksonlewis.com       www.jacksonlewis.com

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                    page for information and
                                         and guidance
                                             guidance on COVID-19’s workplace
                                                      on COVID-19's           implications
                                                                    workplace implications




--

Mitchell A
Mitchell A Kline
           Kline

Law Offices
Law Offices of Mitchell A.
            of Mitchell A. Kline
                           Kline

203 N LaSalle
203 N LaSalle St,
              St, Ste
                  Ste 2100,
                      2100, Chicago, IL 60601
                            Chicago, IL 60601

(312) 558-1454
(312) 558-1454

www.mitchellkline.com
www.mitchellkline.com




                                                          4
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   EXHIBIT
      C
                                    2:19-cv-02067-CSB-EIL # 61                  Page 43 of 52




From:
From:                                 Khetarpal, Monica
                                      Khetarpal, Monica H. H. (Chicago)
                                                              (Chicago) <monica.khetarpal@jacksonlewis.com>
                                                                          <monica.khetarpal@jacksonlewis.com>
Sent:
Sent                                  Wednesday, June
                                      Wednesday,    June 9,
                                                          9, 2021  10:43 AM
                                                             2021 10:43   AM
To:
To:                                   Stewart, Thanin O.
                                      Stewart, Thanin  O. (Chicago)
                                                           (Chicago)
Subject:
Subject                               FW: RE:
                                      FW:      Pouliot v.
                                          RE: Pouliot  v. Bd. of Trs.
                                                          Bd. of Trs. of
                                                                      of the
                                                                         the Univ.
                                                                             Univ. of
                                                                                   of III.
                                                                                      Ill. et
                                                                                           et al
                                                                                              al -- Deposition
                                                                                                    Deposition Notice
                                                                                                               Notice


[EXTERNAL SENDER]
[EXTERNAL SENDER




From: "Khetarpal,
From: "Khetarpal, Monica
                   Monica H.H. (Chicago)"
                               (Chicago)" <Monica.Khetarpal@jacksonlewis.com>
                                           <Monica.Khetarpal@jacksonlewis.com>
Date: Tue
Date: Tue Apr
          Apr 27
               27 22:15:36  EDT 2021
                  22:15:36 EDT   2021
To: "Khatkhate,
To:             Priya Prakash
    "Khatkhate, Priya  Prakash (Chicago)"
                                (Chicago)" <Priya.Khatkhate@jacksonlewis.com>,"Mitchell
                                            <Priya.Khatkhate@jacksonlewis.com>,"Mitchell Kline"
                                                                                         Kline"
<mkline@mitchellkline.com>
<mkline@mitchellkline.com>
Subject: RE:
Subject: RE: Pouliot
             Pouliot v.
                     v. Bd.
                        Bd. of Trs. of
                            of Trs. of the
                                       the Univ.
                                           Univ. of Ill. et
                                                 of III. et al
                                                            al -- Deposition
                                                                  Deposition Notice
                                                                             Notice

Mitchell, I'm
Mitchell,   I’m going
                going to
                      to notice
                         notice this
                                this up for 1pm
                                     up for   1pm onon the 4 th. If
                                                       the 4th.  If you
                                                                    you can’t make that
                                                                        can't make  that date,
                                                                                         date, we
                                                                                                we will  move for
                                                                                                    will move  for an extension of
                                                                                                                   an extension  of
time on
time     the MSJ
      on the   MSJ and  explain the
                    and explain the issue.
                                     issue. II just
                                               just hate to bother
                                                    hate to bother thethe court again, so
                                                                          court again, so soon
                                                                                          soon after   making aa motion
                                                                                                 after making    motion for
                                                                                                                         for extension
                                                                                                                             extension
of time. II really
of time.    really wish
                   wish we
                        we had
                           had known    about these
                                known about      these delays
                                                        delays when
                                                                 when wewe discussed  the joint
                                                                            discussed the        motion for
                                                                                           joint motion  for extension.
                                                                                                             extension.




Monica H.
Monica   H. Khetarpal
             Khetarpal
Attorney at
Attorney      Law
           at Law
Jackson Lewis
Jackson  Lewis P.C.
                P.C.
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150 North Michigan
             Michigan Avenue
                      Avenue
Suite 2500
Suite 2500
Chicago
Chicago,, IL
          IL 60601
             60601
Direct: (312)
Direct: (312) 803-2529
               803-2529 |I Main:
                           Main: (312)
                                 (312) 787-4949
                                       787-4949
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Monica.Khetarpal@jacksonlewis.com        www.jacksonlewis.com

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                                        and guidance
                                            guidance on COVID-19’s workplace
                                                     on COVID-19's           implications
                                                                   workplace implications



From: Khetarpal,
From:  Khetarpal, Monica
                  Monica H.H. (Chicago)
                              (Chicago) <Monica.Khetarpal@jacksonlewis.com>
                                         <Monica.Khetarpal@jacksonlewis.com>
Sent: Tuesday,
Sent: Tuesday, April
               April 27,
                     27, 2021   9:55 AM
                         2021 9:55   AM
To: Khatkhate,
To: Khatkhate, Priya
               Priya Prakash
                     Prakash (Chicago)    <Priya.Khatkhate@jacksonlewis.com>; Mitchell
                               (Chicago) <Priya.Khatkhate@jacksonlewis.com>;        Mitchell Kline
                                                                                             Kline
<mkline@mitchellkline.com>
<mkline@mitchellkline.com>
Subject: RE:
Subject: RE: Pouliot
             Pouliot v.
                     v. Bd.
                        Bd. of Trs. of
                            of Trs. of the
                                       the Univ.
                                           Univ. of Ill. et
                                                 of III. et al
                                                            al -- Deposition
                                                                  Deposition Notice
                                                                             Notice
Importance: High
Importance:  High



Mitchell,
Mitchell,




                                                                   1
                                                                   1
                                    2:19-cv-02067-CSB-EIL # 61                 Page 44 of 52
Priya forwarded
Priya  forwarded toto me   your message
                      me your   message below.    Please make
                                          below. Please         sure to
                                                          make sure  to copy
                                                                        copy both
                                                                               both of   us on
                                                                                      of us  on correspondence.
                                                                                                correspondence. II wish   you had
                                                                                                                     wish you had told
                                                                                                                                  told
us
us about your medical procedure before we agreed to dates with the court. We are certainly happy to accommodate but
    about  your medical    procedure  before we  agreed   to dates with  the  court.  We   are certainly   happy to accommodate    but
we
we obviously   need to
     obviously need   to take
                          take her
                               her deposition
                                   deposition well
                                              well before    the MSJ
                                                    before the   MSJ deadline,
                                                                      deadline, which
                                                                                 which is         14 th. Please
                                                                                             May 14th.
                                                                                          is May         Please provide
                                                                                                                provide dates today
                                                                                                                        dates today
for aa deposition
for    deposition prior
                  prior toto your
                             your procedure. If that
                                  procedure. If that is not possible
                                                     is not possible we
                                                                     we will   have to
                                                                          will have  to move
                                                                                        move to to change   the MSJ
                                                                                                   change the   MSJ deadline
                                                                                                                     deadline again,
                                                                                                                              again,
citing  your medical
citing your  medical issue,
                       issue, which
                              which is
                                    is obviously not idea.
                                       obviously not        Also, please
                                                      idea. Also,         let us
                                                                  please let  us know
                                                                                 know as    soon as
                                                                                        as soon       you can
                                                                                                  as you   can about settlement so
                                                                                                               about settlement  so
that we
that  we are  not all
          are not     spinning wheels
                  all spinning  wheels and  spending unnecessary
                                        and spending    unnecessary time
                                                                     time on   this.
                                                                            on this.




Thanks.
Thanks.




Monica H.
Monica   H. Khetarpal
             Khetarpal
Attorney   at Law
Attorney at Law
Jackson Lewis
Jackson  Lewis P.C.
                P.C.
150 North
150          Michigan Avenue
    North Michigan    Avenue
Suite 2500
Suite 2500
Chicago
Chicago,, IL
          IL 60601
             60601
Direct: (312)
Direct:        803-2529 |I Main:
        (312) 803-2529     Main: (312)
                                 (312) 787-4949
                                       787-4949
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                                        and guidance
                                            guidance on COVID-19’s workplace
                                                     on COVID-19's           implications
                                                                   workplace implications



From: Khatkhate,
From: Khatkhate, Priya
                 Priya Prakash
                        Prakash (Chicago)
                                 (Chicago) <Priya.Khatkhate@jacksonlewis.com>
                                            <Priya.Khatkhate@jacksonlewis.com>
Sent: Monday,
Sent: Monday, April
               April 26,
                     26, 2021  9:00 PM
                         2021 9:00   PM
To: Khetarpal,
To: Khetarpal, Monica  H. (Chicago)
               Monica H.  (Chicago) <Monica.Khetarpal@jacksonlewis.com>
                                     <Monica.Khetarpal@jacksonlewis.com>
Subject: FW:
Subject: FW: Pouliot
             Pouliot v.
                     v. Bd.
                        Bd. of Trs. of
                            of Trs.    the Univ.
                                    of the Univ. of
                                                 of III.
                                                    Ill. et
                                                         et al
                                                            al -- Deposition
                                                                  Deposition Notice
                                                                             Notice



Hi Monica,
Hi Monica,

Please see
Please see below from Mitchell
           below from Mitchell Kline
                               Kline —– II thought
                                           thought he
                                                   he had
                                                      had cc’d you or
                                                          cc'd you or would have sent
                                                                      would have sent this
                                                                                      this to
                                                                                           to you
                                                                                              you sooner.
                                                                                                  sooner.

Thanks,
Thanks,

Priya
Priya




Priya P.
Priya P. Khatkhate
         Khatkhate
Attorney at
Attorney      Law
           at Law
Jackson Lewis
Jackson  Lewis P.C.
                P.C.
150 North
150          Michigan Avenue
    North Michigan    Avenue Suite
                              Suite 2500
                                    2500
Chicago
Chicago,, IL
          IL 60601
             60601
Direct: (312)
Direct:        803-2505 |I Main:
        (312) 803-2505     Main: (312)
                                 (312) 787-4949
                                       787-4949
Priya.Khatkhate@jacksonlewis.com |I www.jacksonlewis.com
Priya.Khatkhate@jacksonlewis.com        www.jacksonlewis.com

                                                                  2
                                                                  2
2:19-cv-02067-CSB-EIL # 61   Page 45 of 52




   EXHIBIT
     D
                                   2:19-cv-02067-CSB-EIL # 61                Page 46 of 52




From:
From:                                Khetarpal, Monica
                                     Khetarpal, Monica H.
                                                        H. (Chicago)
                                                           (Chicago) <Monica.Khetarpal@jacksonlewis.com>
                                                                     <Monica.Khetarpal@jacksonlewis.com>
Sent:
Sent                                 Thursday, May
                                     Thursday,  May 20,
                                                    20, 2021  11:37 AM
                                                        2021 11:37  AM
To:
To:                                  Mitchell Kline
                                     Mitchell Kline
Cc:
Cc:                                  Steponik, Nancy (Chicago);
                                     Steponik, Nancy (Chicago); Khatkhate,
                                                                 Khatkhate, Priya
                                                                            Priya Prakash
                                                                                  Prakash (Chicago)
                                                                                          (Chicago)
Subject:
Subject                              2nd Re-Notice of
                                     2nd Re-Notice  of Remote
                                                       Remote Deposition
                                                                Deposition of
                                                                           of Plaintiff
                                                                              Plaintiff Dominique
                                                                                        Dominique Pouliot
                                                                                                  Pouliot 052021.docx
                                                                                                          052021.docx
Attachments:
Attachments:                         2nd Re-Notice of
                                     2nd Re-Notice  of Remote
                                                       Remote Deposition
                                                                Deposition of
                                                                           of Plaintiff
                                                                              Plaintiff Dominique
                                                                                        Dominique Pouliot
                                                                                                  Pouliot 052021.docx
                                                                                                          052021.docx

Importance:
Importance:                          High
                                     High


Mitchell,
Mitchell,

II hope your procedure
   hope your procedure went
                          went well
                                well and  that you
                                     and that   you are
                                                    are on  the road
                                                        on the  road to
                                                                     to recovery. I’m attaching
                                                                        recovery. I'm attaching aa notice
                                                                                                   notice for
                                                                                                          for your
                                                                                                              your client’s
                                                                                                                   client's
                       nd
 deposition for June
 deposition for June 2
                     2nd.. Please
                           Please also
                                  also be   aware that
                                       be aware    that no
                                                        no discovery
                                                            discovery has
                                                                      has been served in
                                                                          been served  in response  to our
                                                                                          response to       requests. In
                                                                                                       our requests.   In
 accordance
 accordance with  Rule 37,
             with Rule       I’m available
                        37, I'm             to discuss
                                 available to          this today,
                                               discuss this today, tomorrow
                                                                   tomorrow before
                                                                             before 3pm,
                                                                                     3pm, and
                                                                                            and most
                                                                                                most of  Monday. If
                                                                                                      of Monday.   If we
                                                                                                                      we do
                                                                                                                          do not
                                                                                                                             not
 hear from you  we will  be forced  to file a motion  to compel   on Tuesday.
 hear from you we will be forced to file a motion to compel on Tuesday.

II think
   think this
         this we
              we are very close
                 are very       to settlement,
                          close to settlement, but the clock
                                               but the clock is ticking on
                                                             is ticking on our
                                                                           our MSJ
                                                                               MSJ deadline
                                                                                   deadline and
                                                                                            and we
                                                                                                we cannot
                                                                                                   cannot afford any more
                                                                                                          afford any more
 delay.
 delay.

Thanks.
Thanks.

Monica H.
Monica H. Khetarpal
          Khetarpal
Attorney at
Attorney      Law
           at Law
Jackson Lewis
Jackson  Lewis P.C.
                P.C.
150 North    Michigan Avenue
150 North Michigan Avenue
Suite 2500
Suite 2500
Chicago
Chicago,, IL
          IL 60601
             60601
Direct: (312)
Direct: (312) 803-2529
               803-2529 |I Main:
                           Main: (312)
                                 (312) 787-4949
                                       787-4949
Monica.Khetarpal@jacksonlewis.com |I www.jacksonlewis.com
Monica.Khetarpal@jacksonlewis.com        www.jacksonlewis.com

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                                        and guidance
                                            guidance on COVID-19’s workplace
                                                     on COVID-19's           implications
                                                                   workplace implications




                                                                 1
                                                                 1
2:19-cv-02067-CSB-EIL # 61   Page 47 of 52




   EXHIBIT
      E
                                    2:19-cv-02067-CSB-EIL # 61                  Page 48 of 52




From:
From:                                 Khetarpal, Monica
                                      Khetarpal, Monica H.H. (Chicago)
                                                             (Chicago) <monica.khetarpal@jacksonlewis.com>
                                                                           <monica.khetarpal@jacksonlewis.com>
Sent:
Sent                                  Wednesday, June
                                      Wednesday,   June 9,
                                                         9, 2021    10:42 AM
                                                            2021 10:42     AM
To:
To:                                   Stewart, Thanin O.
                                      Stewart, Thanin  O. (Chicago)
                                                          (Chicago)
Subject:
Subject                               FW: RE:
                                      FW:      Dr.Pouliot v
                                          RE: Dr.Pouliot  vUU of
                                                              of I:I: Plaintiff's
                                                                      Plaintiff’s deposition
                                                                                  deposition


[EXTERNAL SENDER]
[EXTERNAL SENDER




From: "Khetarpal,
From:  "Khetarpal, Monica
                   Monica H. H. (Chicago)"
                                (Chicago)" <Monica.Khetarpal@jacksonlewis.com>
                                              <Monica.Khetarpal@jacksonlewis.com>
Date: Tue
Date: Tue Jun
          Jun 01
               01 11:03:52
                  11:03:52 EDT
                             EDT 2021
                                    2021
To: "Mitchell
To: "Mitchell Kline" <mkline@mitchellkline.com>,"Khatkhate, Priya
              Kline" <mkline@mitchellkline.com>,"Khatkhate,      Priya Prakash
                                                                       Prakash (Chicago)"
                                                                               (Chicago)"
<Priya.Khatkhate@jacksonlewis.com>
<Priya.Khatkhate@jacksonlewis.com>
Subject: RE:
Subject: RE: Dr.Pouliot
             Dr.Pouliot vv U
                           U of
                             of I:
                                 I: Plaintiffs
                                    Plaintiff’s deposition
                                                deposition

Mitchell,
Mitchell,




II have not heard
   have not          from you
             heard from    you about    this. Obviously
                                about this.   Obviously we
                                                         we will not go
                                                            will not go forward
                                                                        forward with    your client’s
                                                                                   with your client's deposition tomorrow, but
                                                                                                      deposition tomorrow,       if
                                                                                                                             but if
 you do not file a request for an extension by COB tomorrow, we will file a motion to dismiss for want of prosecution, or
 you  do not  file a request  for an  extension  by  COB  tomorrow,   we  will file a motion to  dismiss for want of prosecution,   or
 in the alternative,
 in the alternative, toto compel.   Again, your
                          compel. Again,    your client
                                                 client has not produced
                                                        has not  produced *any*
                                                                           *any* discovery
                                                                                    discovery responses
                                                                                              responses whatsoever.    This delay
                                                                                                          whatsoever. This  delay is
                                                                                                                                   is
 prejudicing  my client’s
 prejudicing my             ability to
                   client's ability to defend
                                       defend against
                                               against her
                                                        her claims.
                                                            claims.




Monica H.
Monica   H. Khetarpal
             Khetarpal
Attorney at
Attorney      Law
           at Law
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Jackson  Lewis P.C.
                P.C.
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150 North Michigan
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                      Avenue
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          IL 60601
             60601
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Direct: (312) 803-2529
               803-2529 |I Main:
                           Main: (312)
                                 (312) 787-4949
                                       787-4949
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Monica.Khetarpal@jacksonlewis.com        www.jacksonlewis.com

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                                        and guidance
                                            guidance on COVID-19’s workplace
                                                     on COVID-19's           implications
                                                                   workplace implications



From: Mitchell
From:  Mitchell Kline
                Kline <mkline@mitchellkline.com>
                      <mkline@mitchellkline.com>
Sent: Monday,
Sent: Monday, May
                May 24,
                      24, 2021
                          2021 5:50     PM
                                  5:50 PM
To: Khetarpal,
To: Khetarpal, Monica
               Monica H.H. (Chicago)
                            (Chicago) <Monica.Khetarpal@jacksonlewis.com>;
                                         <Monica.Khetarpal@jacksonlewis.com>; Khatkhate,
                                                                              Khatkhate, Priya
                                                                                         Priya Prakash
                                                                                               Prakash (Chicago)
                                                                                                       (Chicago)
<Priya.Khatkhate@jacksonlewis.com>
<Priya.Khatkhate@jacksonlewis.com>
Subject: Dr.Pouliot
Subject: Dr.Pouliot vv U
                       U of  I: Plaintiffs
                         of I:  Plaintiff’s deposition
                                            deposition




                                                                   1
                                                                   1
                                   2:19-cv-02067-CSB-EIL # 61   Page 49 of 52
[EXTERNAL SENDER]
[EXTERNAL SENDER




Dear counsel:
Dear counsel:



II have
   have attached
        attached aa letter
                    letter from   Dr. Briedis,
                           from Dr.            who is
                                      Briedis, who  is aa treating
                                                          treating doctor
                                                                   doctor of
                                                                          of Dr.
                                                                             Dr. Pouliot  and her
                                                                                 Pouliot and  her
 husband. Based
husband.   Based on
                  on this
                      this letter
                            letter we
                                   we would
                                      would like
                                             like an
                                                  an agreed    motion, and
                                                      agreed motion,        you can
                                                                       and you       attach this
                                                                                 can attach this letter
                                                                                                 letter
 from  Dr. Briedis
 from Dr.  Briedis to
                    to the
                       the motion,
                           motion, toto schedule
                                        schedule Dr.
                                                 Dr. Pouliot’s    deposition in
                                                      Pouliot's deposition   in August
                                                                                August and
                                                                                         and move
                                                                                             move back
                                                                                                    back
 the other
the  other dates
           dates accordingly.
                 accordingly.



In addition,
In addition, II expect  to have
                expect to  have aa response
                                   response to
                                            to your
                                               your client’s settlement terms
                                                    client's settlement terms in
                                                                              in the
                                                                                 the next
                                                                                     next few days.
                                                                                          few days.
Thank you
Thank  you for   your cooperation.
            for your   cooperation.



Respectfully,
Respectfully,



Mitchell Kline
Mitchell Kline


--

Mitchell A
Mitchell A Kline
           Kline

Law Offices
Law Offices of Mitchell A.
            of Mitchell A. Kline
                           Kline

203 N LaSalle
203 N LaSalle St,
              St, Ste
                  Ste 2100,
                      2100, Chicago, IL 60601
                            Chicago, IL 60601

(312) 558-1454
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                                                      2
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   EXHIBIT
      F
                                      2:19-cv-02067-CSB-EIL # 61                   Page 51 of 52




From:
From:                                  Khetarpal, Monica
                                       Khetarpal, Monica H.   H. (Chicago)
                                                                 (Chicago)
Sent:
Sent                                   Tuesday, June
                                       Tuesday,  June 8,
                                                       8, 2021    12:59 PM
                                                          2021 12:59     PM
To:
To:                                    Mitchell Kline
                                       Mitchell Kline
Cc:
Cc:                                    Stewart, Thanin O.
                                       Stewart, Thanin   O. (Chicago)
                                                               (Chicago)
Subject:
Subject                                RE: Pouliot
                                       RE: Pouliot vv U
                                                      U of
                                                        of I:I: Settlement terms
                                                                Settlement terms

Importance:
Importance:                            High
                                       High


Michell,
Michell,

First, please
First, please be  advised that
               be advised   that Priya
                                   Priya is
                                         is no longer with
                                            no longer        the firm,
                                                        with the firm, and
                                                                        and Thanin
                                                                             Thanin Stewart,
                                                                                     Stewart, copied
                                                                                               copied here,
                                                                                                       here, will
                                                                                                              will be
                                                                                                                    be working
                                                                                                                        working as   the
                                                                                                                                  as the
associate
associate on this case. I'm very disappointed in your response below, as we discussed the fact that we should hold off
            on this case. I’m    very disappointed    in your  response   below,  as  we discussed  the  fact that   we  should   hold off on
                                                                                                                                           on
discovery   and continue
discovery and               settlement negotiations
                 continue settlement       negotiations because     there was
                                                          because there    was aa good
                                                                                  good chance   your client
                                                                                        chance your   client would     agree to
                                                                                                              would agree     to aa monetary
                                                                                                                                    monetary
figure close
figure        to
        close to            .. In
                               In fact,
                                  fact, we
                                        we came
                                            came up    to
                                                   up to           – aa significant
                                                                   —    significant jump
                                                                                    jump —– specifically
                                                                                            specifically based
                                                                                                         based on     this representation.
                                                                                                                  on this  representation.
We
We had    also agreed
     had also          to non-monetary
               agreed to   non-monetary terms,terms, and
                                                      and even
                                                           even represented
                                                                 represented to to the
                                                                                   the Court
                                                                                       Court as
                                                                                              as much,
                                                                                                 much, and    now we
                                                                                                         and now     we are  moving
                                                                                                                         are moving
backwards.    Furthermore, I'm
backwards. Furthermore,         I’m surprised
                                    surprised that
                                                that you
                                                     you do   not already
                                                          do not  already known     that Keith
                                                                           known that          Hunt has
                                                                                         Keith Hunt       filed aa lien
                                                                                                     has filed     lien against  the
                                                                                                                        against the
judgment.
judgment.

 Given
 Given how   far apart
       how far    apart we  are, and
                        we are,        that we
                                  and that      seem to
                                            we seem   to be
                                                         be quickly
                                                            quickly drifting
                                                                    drifting even   further, please
                                                                              even further,  please be
                                                                                                     be advised   that we
                                                                                                         advised that  we will  be filing
                                                                                                                           will be filing
aa motion
   motion toto compel
               compel before
                        before the
                                 the end
                                      end of
                                           of the
                                              the week.
                                                  week. The
                                                         The motion
                                                             motion will
                                                                     will indicate   that despite
                                                                           indicate that  despite earlier
                                                                                                  earlier assurances
                                                                                                            assurances by  Plaintiff, we
                                                                                                                        by Plaintiff, we
 are no longer
 are no longer close   to settlement
                 close to settlement as as she
                                           she has
                                                has changed
                                                    changed her  terms. It
                                                             her terms.  It will
                                                                            will also
                                                                                 also indicate that she
                                                                                      indicate that  she has  not responded
                                                                                                          has not responded to to any
                                                                                                                                  any of
                                                                                                                                       of
 our
 our discovery
     discovery requests
                 requests despite
                           despite multiple
                                     multiple requests  and reminders
                                               requests and  reminders toto you
                                                                             you that
                                                                                  that we  have yet
                                                                                       we have  yet to
                                                                                                     to receive
                                                                                                        receive anything   from her.
                                                                                                                 anything from   her.
 We
 We will
     will seek
          seek aggressive   relief, including
                aggressive relief,  including barring
                                               barring any non-disclosed evidence
                                                       any non-disclosed    evidence from
                                                                                       from use
                                                                                            use at  trial, and/or
                                                                                                 at trial, and/or dismissal  for want
                                                                                                                   dismissal for want
 of
 of prosecution.
    prosecution.

I’m sure
I'm sure that
         that you
               you understand
                   understand our frustration with
                              our frustration       your client’s
                                              with your  client's position,
                                                                  position, and
                                                                            and our need to
                                                                                our need to take
                                                                                            take aa hard
                                                                                                    hard line
                                                                                                         line with
                                                                                                              with respect to
                                                                                                                   respect to
discovery  so that
discovery so  that we
                   we do
                      do not
                         not prejudice
                             prejudice our
                                       our ability to defend
                                           ability to        this matter.
                                                      defend this matter.

Thanks.
Thanks.


Monica H.
Monica   H. Khetarpal
             Khetarpal
Attorney at
Attorney      Law
           at Law
Jackson Lewis
Jackson  Lewis P.C.
                P.C.
150 North
150 North Michigan
             Michigan Avenue
                      Avenue
Suite 2500
Suite 2500
Chicago
Chicago,, IL
          IL 60601
             60601
Direct: (312)
Direct: (312) 803-2529
               803-2529 |I Main:
                           Main: (312)
                                 (312) 787-4949
                                       787-4949
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Visit our
Visit our resource
          resource page for information
                   page for information and
                                        and guidance
                                            guidance on COVID-19’s workplace
                                                     on COVID-19's           implications
                                                                   workplace implications


From: Mitchell
From:  Mitchell Kline
                Kline <mkline@mitchellkline.com>
                      <mkline@mitchellkline.com>
Sent: Saturday,
Sent: Saturday, June
                June 5,5, 2021   1:21 PM
                          2021 1:21   PM
To: Khetarpal,
To: Khetarpal, Monica
               Monica H. H. (Chicago)
                             (Chicago) <Monica.Khetarpal@jacksonlewis.com>;
                                       <Monica.Khetarpal@jacksonlewis.com>; Khatkhate,
                                                                            Khatkhate, Priya
                                                                                       Priya Prakash
                                                                                             Prakash (Chicago)
                                                                                                     (Chicago)
<Priya.Khatkhate@jacksonlewis.com>
<Priya.Khatkhate@jacksonlewis.com>
Subject: Pouliot
Subject: Pouliot vv U
                    U of
                      of I:
                         I: Settlement
                            Settlement terms
                                        terms

                                                                     1
                                                                     1
                                 2:19-cv-02067-CSB-EIL # 61    Page 52 of 52
[EXTERNAL SENDER]
[EXTERNAL SENDER




Hi counsel:
Hi counsel:

Regarding your offer
Regarding your offer of of            Dr. Pouliot
                                      Dr.          will agree
                                          Pouliot will        to
                                                        agree to           ;; and
                                                                              and confirmation  that
                                                                                   confirmation that
Attorney Hunt
Attorney      has not
         Hunt has    not filed
                         filed aa lien
                                  lien with
                                       with your
                                            your law
                                                  law firm  or with
                                                       firm or with the
                                                                     the U
                                                                         U of
                                                                            of I.
                                                                               I. Regarding  non-
                                                                                  Regarding non-
monetary issues,
monetary issues, II initially
                    initially told
                              told Dr.
                                    Dr. Pouliot that the
                                        Pouliot that the UU of
                                                            of I’s terms were
                                                               I's terms  were reasonable.
                                                                                 reasonable.

However, she
However, she pointed
             pointed out
                     out aa few problems with
                            few problems with the
                                              the language. First,
                                                  language. First,




In addition,
In addition, to
             to conduct proper research,
                conduct proper research,


                                    .

Please advise on
Please advise on our
                 our terms
                     terms by
                           by June 11, 2021.
                              June 11, 2021. Thank
                                             Thank you
                                                   you for your consideration.
                                                       for your consideration.

Respectfully,
Respectfully,

Mitchell Kline
Mitchell Kline
--
Mitchell A
Mitchell A Kline
           Kline
Law Offices
Law Offices of  Mitchell A.
             of Mitchell A. Kline
                            Kline
203
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    N  LaSalle St, Ste 2100,          IL 60601
                             Chicago, IL 60601
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                                                    2
